 

| see CAS 2.16-Cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 Page T of 99 Page ID #204

  
   
 
   
    
  
 

 

PATIENT PROFILE: DAVID*'
Coa S > Age: 40 Gender: Male
~~)" Ethnicity: African: American Occupation: Police Officer
Present Complaint: Hurt his back in a bad fall while at work, experiencing

sharp pain in his lower back with intermittent episodes of
dullness, tingling, and aching that radiate down to his toes

* Having difficulty walking and bending
* Has self-medicated with over-the-counter (OTC) pain
we, relievers, but has found no pain relief
Pain Intensity Rating: Severe—8 (on a scale of 0-10}
“= Duration of Pain: 5 days.
Past Medical History: No relevant medical or surgical history
“a2. (Medications: - OTC pain relievers
edical Conclusion: * X-ray and MRI of the lumbar spine showed a small disk
ae herniation at L, ,

- © Low back pain with small L,; disk herniation associated
with probable radiculopathy

‘Treatment Considerations: * Choose an efficacious agent for optimal acute pain control
ee * Treat pain by addressing both ascending and
descending pathways

   
  
 
 
 
 
 
 
 
 
 
 
  
 
  
  
 

 

 

   
 
   
   
 

*Not an actual patient.

*Patients with acute low back pain were studied in the Phase Ill
clinical trials for NUCYNTA". NUCYNTA” is indicated for the relief
of moderate fo severe acute pain in patients 18 years of age or older.

   

2 Bapentacol — Se Se ET

: For ihe relief of moderate fo severe acute pain in patienis 18 years of age or older My

IMPORTANT SAFETY INFORMATION

_:® Like other drugs with muopioid agonist activity, NUCYNTA" is contraindicated in patients with significant respiratory depression, acute or severe bronchial

~~ asthma-or hypercapnia in unmonitored settings or in the absence of resuscitative equipment. NUCYNIA” is contraindicated in patients who have or are

suspected fo have paralytic ileus. NUCYNTA" is also contraindicated in patients currently using or within 14 days of using monoamine oxidase inhibitors

~:~ {MAQIs| due fo potential additive effects on norepinephrine levels, which may result in adverse cardiovascular events.

“© Respiratory depression is the primary risk of muopioid agonisis. Respiratory depression occurs more frequently in elderly or debilitated patients and in those

~~ suffering from conditions accompanied by hypoxia, hypercapnia, or upper airway obstruction, in whom even moderale therapeutic doses may significantly
decrease pulmonary ventilation. NUCYNTA™ should be administered with caution to the elderly, debilitated patients, and patients with conditions accompanied’

_ by hypoxia, hypercapnia or decreased respiratory reserve such as: asthma, chronic obstructive pulmonary disease or cor pulmonale, severe obesity, sleep"
apnea syndrome, myxedema, kyphoscoliosis, CNS depression, or coma. In such patients, even usual therapeutic doses of NUCYNTA™ may increase airway
resisiancé and decrease respiratory drive fo the point of apnea. Altemative nonmu-opioid agonist analgesics should be considered and NUCYNTA” should be
employed only under careful medical supervision at the lowest effective dose in such patients. If respiratory depression occurs, it should be treated as any

. muopioid agonistinduced respiratory depression. ;

* Patients receiving other muopioid agonist analgesics, general anesthelics, phenothiazines, other tranquilizers, sedatives, hypnotics, or other CNS depressants
{including alcohol) concomitantly wilh NUCYNTA™ may exhibit additive CNS depression. Interactive effects resulting in respiratory depression, hypotension,
profound sedation, coma or death may result if these drugs are taken in combination wih NUCYNTA". When such combined therapy is contemplated, a dose
reduction of one or both agents should be considered.

* Opioid analgesics can raise cerebrospinal fluid pressure as a result of respiratory depression with carbon dioxide retention. Therefore, NUCYNTA" should not
be used in patients susceptible fo ihe effects of raised cerebrospinal fluid pressure such as those with head injury and increased intracranial pressure. Opioid
analgesics may obscure the clinical course of patients with head injury due to effecis on pupillary response and consciousness. NUCYNTA™ should be used
wilh caution in patients with head injury, intracranial lesions, or other sources of preexisting increased intracranial pressure.

* NUCYNIA" is a mu-opioid agonist and is a Schedule II controlled substance. Such drugs are sought by drug abusers and people with addiction disorders.
Diversion of Schedule II products is an act subject to criminal penalty. NUCYNTA™ can be abused in a manner similar fo other mu-opioid agonists, legal or
ilicit. This should be considered when prescribing or dispensing NUCYNTA” in situations where the physician or pharmacist is concerned about an increased
risk of misuse and abuse. All patients treated with mu-opioid agonisis require careful monitoring for signs of abuse and addiction. NUCYNTA™ may be abused
by crushing, chewing, snorting or injecting the product. These practices pose a significant risk fo the abuser that could result in overdose and death.

 

Please see Important Safety Information continued on the back of this page and enclosed full Prescribing Information.

 

 
 

 

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NUCYNTA"— FOR THE RELIEF OF MODERATE TO SEVERE ACUTE
PAIN IN PATIENTS 18 YEARS OF AGE OR OLDER

Single Molecule
* Combines opioid and nonopioid activity in one centrally acting oral analgesic

Extensively Evaluated in Multiple Pain Models

* End-stage joint disease study (10 days)’

* Orthopedic/ postoperative (bunionectomy}?4

* 90-day safety study (lower back pain and osteoarthritis}4

Dosing Options
* Dosing is one tablet of 50 mg, 75 mg, or 100 mg every 4 to 6 hours
depending on pain intensity
— Patients can receive a second dose of NUCYNITA™ as early as 1 hour
after initial dose, if needed, on Day 1
* Maximum 24-hour dose of NUCYNTA” on Day 1 is 700 mg

and on subsequent days is 600 mg. Higher doses have not been. NUCY!] | WAN ai

studied and are therefore not recommended tapentadol

 

* Refer to full Prescribing Information for dosing
adjustment information Visit www.NUCYNTA.com for more information.

IMPORTANT SAFETY INFORMATION (ona

* Experience with NUCYNTA" overdose is very limited. Management of overdose should be focused on treating symptoms of muopioid agonism. Primary
atfention should be given to reestablishment of a patent airway and institution of assisted or controlled ventilation when overdose of NUCYNTA™ is suspected.
Supportive measures (including oxygen and vasopressors| should be employed in the management of circulatory shock and pulmonary edema accompanying
overdose as indicated. Cardiac arrest or arrhythmias may require cardiac massage or defibrillation.

* Patients should be cautioned that NUCYNTA™ may impair the mental and/or physical abilities required for the performance of potentially hazardous tasks such
as driving a car or operating machinery, This is fo be expected especially at the beginning of ireaiment, at any change of dosage as well as in combination
with alcohol or tranquilizers. /

* NUCYNTA™ has not been systematically evaluated in patients with a seizure disorder, and such patients were excluded from clinical studies. NUCYNTA™ -
should be prescribed with care in patients with a history of a seizure disorder or any condition that would put the patient at risk of seizures.

* The development of a potentially lifethreatening serotonin syndrome may occur with use of SNRI products, including NUCYNTA", particularly with concomitant
use of serotonergic drugs such as SSRis, SNRis, TCAs, MACls and triptans, and with drugs which impair metabolism of serotonin (including MAOIs). Serotonin
syndrome may include mentalstatus changes (eg, agitation, hallucinations, coma}, autonomic instability (eg, fachycardia, labile blood pressure, hyperthermia,
neuromuscular aberrations {eg, hyperreflexia, incoordination) and/or gastrointestinal symptoms (eg, nausea, vomiting, diarrheal.

* Withdrawal symptoms may occur if NUCYNTA" is discontinued abruptly. These symptoms may include: anxiely, sweating, insomnia, rigors, pain, nausea,
tremors, diarthea, upper respiratory symptoms, piloerection, and rarely, hallucinations. Withdrawal symptoms may be reduced by tapering NUCYNTA".

* Pregnancy Category C. There are no adequate and wellcontrolled studies of NUCYNTA™ in pregnant women. NUCYNTA" should be used during pregnancy
ONLY if the potential benefit justifies the polential risk to the felus. NUCYNTA" is not recommended for use in women during and immediately prior to labor
and delivery. Neonates whose mothers have been taking NUCYNTA™ should be monitored for respiratory depression. NUCYNTA™ should not be used
during breastfeeding. .

* NUCYNIA" is not recommended in patients with severe renal or hepatic impairment. NUCYNTA™ should be used with caution in patients with moderate
hepatic impairment. like other drugs with mu-opioid agonist activity, NUCYNTA™ may cause spasm of the sphincter of Oddi and should be used with caution in
patients with biliary tract disease, including acute pancreatitis.

* The most common adverse events are nausea, dizziness, vomiting, somnolence’and headache.

Please see enclosed full Prescribing Information.

References: 1. Haitrick C, Van Hove |, Stegmann J-U, Oh C, Upmalis D, Efficacy and tolerability of tapentadol immediate release and oxycodone HCI immediale release in patients

awailing primary joint replacement surgery for end-stage joint disease:.a 10-day, phase Ill, randomized, double-blind, active and placebocontralled study. Clin Ther. 2009;3 1{2}:

260-271. 2. Daniels SE, Upmalis D, Okamoto A, Lange C, Héeussler J. A randomized, double-blind, phase ill study comparing multiple doses of tapentado! IR, oxycodone IR, and

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Pri C a randomized, double-blind study. Curr Med Res Opin. 2009;25(5}:1095-1 104.
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Exhibit 4

 
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Exhibit 5

 
Case 2:16-cv-06997-RGK-RAO Document1-2 Filed 09/16/16 Page 12o0f99 Page ID#:

Articles

 

Simeprevir plus sofosbuvir, with or without ribavirin, to
treat chronic infection with hepatitis C virus genotype 1 in
non-responders to pegylated interferon and ribavirin and
treatment-naive patients: the COSMOS randomised study

Eric Lawitz, Mark S Sulkowski, Reem Ghalib, Maribel Rodriguez-Torres, Zobair M Younossi, Ana Corregidor, Edwin DeJesus, Brian Pearlman,
Mordechai Rabinovitz, Norman Gitlin, Joseph K Lim, Paul J Pockros, John D Scott, Bart Fevery, Tom Lambrecht, Sivi Ouwerkerk-Mahadevan,
Katleen Callewaert, William T Symonds, Gaston Picchio, Karen L Lindsay, Maria Beumont, ira M Jacobson

Summary
Background Interferon-free regimens are needed to treat hepatitis C virus (HCV) infections. We investigated the
efficacy of combined simeprevir and sofosbuvir.

Methods We enrolled patients with chronic HCV genotype 1 infections who had previously not responded to pegylated
interferon (peginterferon) and ribavirin or were treatment naive. Patients were randomly assigned in a 2:2:1:1 ratio to
receive 150 mg simeprevir and 400 mg sofosbuvir daily for 24 weeks with (group 1) or without (group 2) ribavirin or for
12 weeks with (group 3) or without (group 4) ribavirin, in two cohorts: previous non-responders with METAVIR scores
F0-F2 (cohort 1) and previous non-responders and treatment-naive patients with METAVIR scores F3—F4 (cohort 2).
The primary endpoint was sustained virological response 12 weeks after stopping treatment (SVR12). Analysis was
done by intention to treat. Safety data from cohorts 1 and 2 were pooled for analysis. This study is registered with
ClinicalTrials.gov, number NCT01466790.

Findings 168 patients were enrolled and randomised, and 167 started treatment (n=80 in cohort 1 and n=87 in
cohort 2). SVR12 was achieved in 154 (92%) patients (n=72 (90%, 95% CI 81-96] in cohort 1 and n=82 [94%, 87-98] in
cohort 2). The most common adverse events in the pooled groups were fatigue (n=52 [31%)]}, headache (n=33 [20%J),
and nausea (n=26 [169%]). Grade 4 adverse events were seen in one (2%) of 54 patients in each of groups 1 and 3 and
in three (10%) of 31 patients in group 2, whereas grade 3-4 events were reported in less than 5% of all patients, except
increased blood amylase concentration. Serious adverse events were seen in four (2%) patients, all in groups 1 and 2.

Four (2%) patients discontinued all study treatment because of adverse events, three before week 12.

Interpretation Combined simeprevir and sofosbuvir was efficacious and well tolerated.

Funding Janssen.

Introduction

Chronic infection with hepatitis C virus (HCV) is a
worldwide health problem that can lead to cirrhosis,
decompensated liver disease, and liver cancer. 130-150
million people are chronically infected worldwide and
350000-500000 HCV-related deaths are reported
annually.’ Treatment for HCV genotype 1 has evolved
from pegylated interferon (peginterferon) and ribavirin?
to include direct-acting antiviral agents.

Simeprevir is a once-daily HCV NS3/4A protease
inhibitor that is approved for use in combination with
peginterferon or ribavirin to treat chronic infection with
HCV genotype 1. In phase 3 studies done in patients with
cirrhosis, sustained virological response (SVR) rates of
80-81% were reported in treatment-naive patients,‘ 79%
in relapsed patients,> and 54% in partial or non-
responders to previous peginterferon or ribavirin
therapy.° Sofosbuvir is a once-daily HCV nucleotide-
analogue NS5B polymerase inhibitor that is approved for
the treatment of chronic infections with HCV

genotypes 1-4. In a phase 3 trial in patients infected with
HCV genotype 1, treatment-naive patients, including a
subgroup with compensated cirrhosis, 89% achieved
SVR after 12 weeks of treatment with sofosbuvir and
peginterferon or ribavirin.’

In the COmbination of SiMeprevir and sOfoSbuvir in
HCV-infected patients (COSMOS) study, we investigated
the safety and efficacy of combined oral simeprevir and
sofosbuvir, with or without ribavirin, in adults with
chronic HCV genotype 1 infections who had previously
not responded to or not received standard therapy with
peginterferon and ribavirin.

Methods

Study design and patients

This study was a randomised open-label trial done in
23 US centres between Nov 2, 2011, and Jan 29, 2014. We
intended to study primarily patients with HCV
genotype 1a, as this is a particularly challenging genotype
to treat with protease inhibitors. Full eligibility criteria

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See Online/Comment
http://dx.doi.org/10,1016/
$0140-6736(14)61225-3

Texas Liver Institute,
University of Texas Health
Science Center, San Antonio,
TX, USA (Prof E Lawitz MD);
Johns Hopkins University
School of Medicine, Baltimore,
MD, USA

(Prof MS Sulkowski MD); Texas
Clinical Research Institute,
Arlington, TX, USA

{R Ghalib MD); Fundacién de
Investigacién, San Juan, PR,
USA (M Rodriguez-Torres MD);
Department of Medicine, Inova
Fairfax Hospital, Falls Church,
VA, USA (ProfZ M Younossi MD);
Borland-Groover Clinic,
Jacksonville, FL, USA

(A Corregidor MD); Orlando
Immunology Center, Orlando,
FL, USA (E DeJesus MD); Atlanta
Medical Center, Atlanta, GA,
USA (Prof B Pearlman MD);
University of Pittsburgh
Medical Center, Pittsburgh, PA,
USA (Prof M Rabinovitz MD);
Atlanta Gastroenterology
Association, Atlanta, GA, USA
{N Gitlin MD); Yale Liver Center
and Yale University School of
Medicine, New Haven, CT, USA
(KLim MD);Scripps Clinic,
LaJolla, CA, USA

(PJ Pockros MD); Harborview
Medical Center, Seattle, WA,
USA (J D Scott MD); Janssen
Research & Development,
Beerse, Belgium (B Fevery MSc,
S Ouwerkerk-Mahadevan PhD,

K Callewaert MSc,

M Beumont MD); Novellas
Healthcare, Zellik, Belgium

(T Lambrecht MSc); Gilead
Sciences Inc, Foster City, CA,
USA (WT Symonds PharmD);
Janssen Research &
Development, Titusville, NJ,

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Articles

 

USA (G Picchio PhD,

KL Lindsay MD); and Weilt
Cornell Medical College, New
York, NY, USA

(Prof M Jacobson MD)

Correspondence to:

Prof Eric Lawitz, Texas Liver
Institute, University of Texas
Health Science Center, 607
Camden Street, San Antonio,
TX 78215, USA
lawitz@tiliver.com

See Online for appendix

are provided in the study registration information
(NCT01466790). Briefly, eligible patients were aged
18 years or older, had chronic infection with HCV
genotype 1 and titres of HCV RNA in plasma higher than
10000 IU/mL, were HIV seronegative, had compensated
liver disease, and had glomerular filtration rates of
60 mL/min per 1-73m2 or higher’ Patients were
separated into two sequentially recruited cohorts. Those
eligible for cohort 1 were required to be previous non-
responders to peginterferon and ribavirin and to have no
to moderate liver fibrosis (METAVIR score F0-F2), based
on a liver biopsy within 3 years of screening (or between
screening and day 1 of treatment), and those eligible for
cohort 2 were required to be previous non-responders to
peginterferon and ribavirin or treatment naive and have
severe liver fibrosis (METAVIR score F3-F4), based on a
liver biopsy at any time. All patients gave written
informed consent. The study was approved by the
institutional review boards of all participating institutions
or a central institutional review board.

Randomisation and masking

A central, computer-generated randomisation schedule
was used with allocation balanced by use of randomly
permuted blocks of six (appendix p 1). The next treatment
allocation, provided as a unique code, was obtained by an
interactive voice-response or web-response system
(appendix p 1). Each code was matched with a treatment
kit. Randomisation was stratified by HCV genotype 1
subtype (la vs other) in cohorts 1 and 2, the patient's
IL28B genotype in cohort 1, and by treatment history
(naive vs non-responder) in cohort 2. As this was an
open-label study, all patients and investigators were
aware of treatment allocations.

Treatment

Patients were randomly assigned to four treatment
groups in a 2:2:1:1 ratio: simeprevir and sofosbuvir with
(group 1) or without (growp 2) ribavirin for 24 weeks, or
simeprevir and sofosbuvir with (group 3) or without
(group 4) ribavirin for 12 weeks. After roughly 20% of
patients in cohort 1 had reached the planned end of
treatment (n=22), a preplanned safety and efficacy
analysis was done. 17 (77%) patients had assessable data
for SVR 4 weeks after the end of treatment (SVR4). Upon
reviewing the results, the data monitoring committee
and sponsor agreed to continue with the same four
dosing regimens in cohort 2 as in cohort 1.

Simeprevir was taken orally in a 150 mg capsule once
daily. Sofosbuvir was taken as two 200 mg tablets once
daily in cohort 1 and as one 400 mg tablet daily in cohort 2
after a change in drug formulation. Ribavirin was
administered at 1000 mg daily in patients with
bodyweight less than 75 kg, or 1200 mg daily in those
with bodyweight 75 kg or higher. Patients were followed
up for 24 weeks after 24 weeks of treatment or for
36 weeks after 12 weeks of treatment.

Population-based sequencing of HCV NS3/4A and
NS5B regions was done on all blood samples collected at
baseline. Samples were also collected at study visits on
days 1, 2, 3, 4, 7, 14, 21, and 28, and then every 2 weeks
until the end of follow-up at week 48 (final sample
collected on Jan 29, 2014), but only those for patients who
had not achieved SVR 12 weeks after the planned end of
treatment (SVR12) were sequenced.

Safety
Safety data were collected from all patients from the time
they gave informed consent until the completion of the
last study visit. Assessments during treatment included
standard laboratory tests (weekly in all patients from
baseline up to and including week 4, then every 2
weeks until week 24, at weeks 28 and 32 in groups 1 and
2, and at week 48 in all groups), measurement of vital
signs, electrocardiography, and incidence and severity of
adverse events (AEs).° Laboratory value abnormalities
and AEs were graded by investigators according to the
WHO grading scale.” Increased bilirubin was deemed to
be an event of interest because simeprevir is an inhibitor
of the hepatic transporters OATP1B1 and MRP2. Rash
(any type), pruritus, anaemia, and neutropenia were
deemed events of clinical interest because they have been
reported in phase 3 studies of other HCV protease
inhibitors combined with peginterferon or ribavirin."
Pharmacokinetics of simeprevir, sofosbuvir, and
metabolites of sofosbuvir were measured in all patients
at weeks 2, 4, 8, 12, and 24, and in a subgroup of patients
at week 2 before and 0-5, 1, 2, 3, 4, 5, 6, 8, 12, and 24h
after the study treatment was taken (appendix p 1).

Statistical analysis
No formal sample size calculation was performed as this
was an exploratory study. Nevertheless, we calculated that a
sample size of 30 patients in each of the ribavirin groups
and 15 in the no ribavirin groups would yield good
precision of the 95% CI around the observed response rate
(appendix p 1). With enrolment of only non-responders
into cohort 1, however, the target number of patients was
not reached and, therefore, in cohort 2 inclusion of
treatment-naive patients and non-responders was allowed.
The primary endpoint was SVR12 (HCV RNA titres
lower than 25 JU/mL). Secondary efficacy endpoints were
SVR4 and SVR 24 weeks after the planned end of
treatment (SVR24), rapid virological response (HCV
RNA undetectable 4 weeks after the start of treatment),
on-treatment failure, and viral relapse. Concentrations of
HCV RNA in plasma were measured with the COBAS
Taqman HCV/HPS v2.0 assay (Roche, Molecular
Diagnostics, Pleasanton, CA, USA; lower limit of
quantification 25 IU/ml; limit of detection 15 IU/mL).
The primary analysis was done in the intention-to-treat
(ITT) population (all randomised patients who received
at least one dose of study medication). An additional
(post-hoc) analysis of the primary endpoint was done that

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Articles

 

excluded patients who discontinued treatment
prematurely for non-virological reasons or for whom
assessment data were missing. Proportional analyses
were performed separately for each cohort and, to
increase sample size, on pooled cohort data. This trial is
registered with Clinical Trials.gov, number NCT01466790.

Role of the funding source

The funder of the study was responsible for study design,
data collection, data analysis, and data interpretation, and
helped write and review the report. The investigators
were also responsible for data interpretation and writing
of the report. The corresponding author had full access
to all the data in the study and had final responsibility for
the decision to submit for publication.

Results

168 patients were enrolled and randomised, and 167
started treatment (n=80 in cohort 1, n=87 in cohort 2;
figure 1). Five patients were enrolled despite not
satisfying all selection criteria (four in cohort 1 and one in
cohort 2), two despite receiving a prohibited concomitant
treatment (one in each of cohorts 1 and 2), and one
despite missing a key visit at week 36 (cohort 2); as they
comprised less than 10% of the overall study population,

no per-protocol analysis was done. Except for previous
treatment response, Gln80Lys (Q80K) polymorphism,
and fibrosis stage, baseline demographics and clinical
characteristics were similar across the two cohorts and
all treatment groups (table 1). Most patients were white
men. Median age was 57 years (range 27-70 years). Most
patients were infected with HCV genotype 1a, 45% with
the Gln80Lys polymorphism (none in HCV genotype Ib).
23 (14%) patients had the IL28B CC genotype. Ten
patients discontinued therapy within 12 weeks of starting
study treatment, five [6%] in each cohort, all in the
24-week treatment groups (figure 1). Four withdrawals
were due to AEs (table 2).

154 (92%) of 167 of patients in the ITT population
achieved SVR12, 90% (95% CI 81-96) in cohort 1 and
94% (87-98) in cohort 2 (figure 2). In separate
assessments of cohorts 1 and 2, SVR rates were seen in
high proportions of patients with HCV genotype 1a,
including in the presence of the HCV Gln80Lys
polymorphism, and of those with HCV genotype Ib
(figure 2). In cohort 1, rates of virological response were
similar in patients with IL28B CC and non-CC genotypes,
irrespective of whether they received ribavirin (appendix
Pp 1). The rates of SVR remained high when patients with
compensated cirrhosis (METAVIR score F4) were

 

 

Cohort 1 (METAVIR FO-F2)
156 screened

 

 

 

 

Cohort 2 (METAVIR F3-F4)
153 screened

 

 

 

 

 

|_| 75 screened not randomised

 

(did not meet eligibility criteria)

>|

 

 

66 screened not randomised
(did not meet eligibility criteria)

 

 

 

+
| 81 randomised

Pi 1 patient not treated

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87 randomised

 

 

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24 to group 1
(simeprevir plus
sofosbuvir plus

 

 

 

15 to group 2
(simeprevir plus
sofosbuvir for

27 to group 3
(simepsevir plus
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14 to group 4
(simeprevir plus
sofosbuvir for

 

30 to group 1
(simeprevir plus
sofosbuvir plus

 

 

16 to group 2
(simeprevir plus
sofosbuvir for

 

 

27 to group3
{simeprevir plus
sofosbuvir plus

 

 

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sofosbuvir for

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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24 weeks) 12 weeks) 24 weeks) 12 weeks)

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Figure 1: Trial profile

*Consent was withdrawn at week 32 and the patient was excluded from the non-virological failure population owing to missing data, but achieved sustained virological response at 24 weeks.
Patient had viral relapse and was excluded from the non-virological failure population.

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Articles
Cohort 1 Cohort 2 Total (n=167)
24 weeks of treatment 12 weeks of treatment 24 weeks of treatment 12 weeks of treatment
Group 1 Group 2 Group 3 Group 4. Group 1 Group 2 Group 3 Group 4
(n=24) (n=15) (n=27) (n=14) (n=30) (n=16) {n=27) (n=14)
Male sex 15 (63%) 6 (40%) 20 (74%) 8 (58%) 21 (70%) 7 (44%) 20 (74%) 10 (71%) 107 (64%)
Ethnic origin
White 18 (75%) 9 (60%) 19 (70%) 11(79%) 29 (97%) 13 (81%) 25 (93%) 12 (86%) 136 (81%)
Black and African American 6 (25%) 6 (40%) 8 (30%) 3 (21%) 13%) 3 (19%) 2 (7%) 2 (14%) 31 (19%)
Hispanic and Latino 10 (42%) 4 (27%) 4 (15%) 2 (14%) 3 (10%) 5 (31%) 5 (19%) 2 (14%) 35 (21%)
Median (IQR) age (years) 56 (27-70) 56 (27-61) 55 (28-67) 56 (35-68) 58 (28-70) 58 (49-63) 57 (36-68) 58 (47-64) 57 (27-70)
Median (IQR) BMI (kg/m?) 26-5 30-4 27-4 283 28-4 28-8 265 31-6 28-0
(223-377) (18-5-40-7) (19-8-33-5) (21-7-36-6) (18:3-41-7) (18-6-37:2) (19-7-45-7) (22-5-40-6) (18-3-45:7)
1L28B non-CC genotype 24 (100%) 13 (87%) 24 (89%) 14 (100%) 22. (73%) 14 (88%) 23 (85%) 10 (71%) 144 (86%)
Baseline log,, HCV RNA titre (IU/mL)
Mean (SD) 67 (0-42) 6-7 (0-32) 67 (0-44) 6-7 (032) 6-2 (0-80) 6-5 (0-44) 6-6 (0-52) 6-7 (0-48) 6-6 (0-55)
Median (IQR) 68 (5:7-7-4) 6-8 (6:3-7-2) 6-8 (5:0-7-2) 6-8 (6-1-7-0) 6369-73) 66 (5-4-7) 67 (52-71) 6-7 (59-7-4) 6-7 3-9-7-4)
METAVIR score
FO-F1 11 (46%) 3 (20%) 11 (41%) 8 (57%) 33 (20%)
F2 13 (54%) 12 (80%) 16 (59%) 6 (43%) ” ” ” “ 47 (28%)
3 ” ” - 17 (57%) 6 (38%) 16 (59%) 7 (50%) 46 (28%)
F4 13 (43%) 10 (63%) 11 (41%) 7 (50%) 41 (25%)
HCV genotype
Ta 20 (83%) 11 (73%) 21 (78%) 10 (71%) 23 (7%) 12 (75%) 22 (82%) 11. (79%) 130 (78%)
1b 4 (17%) 4 (27%) 6 (22%) 4(29%) 7 (23%) 4(25%) 5 (19%) 3 (21%) 37 (22%)
HCV Gln80Lys polymorphism* 12 (60%) 4 (36%) 9 (43%) 6 (60%) 44 (48%) 5 (42%) 8 (36%) 3 (27%) 58 (45%)
Treatment history
No response 24.(100%) 15 (100%) 27 (100%) 14 (100%) 17 (57%) 8 (50%) 15 (56%) 7 (50%) 127 (76%)
Treatment-naive - ” 13 (43%) 8 (50%) 22 (44%) 7 (50%) 40 (24%)
BMI=body-mass index; HCV=hepatitis C virus, *Seen only in patients with HCV genotype ta.
Table 1; Demographic and clinical characteristics at baseline

 

 

 

considered separately (appendix p 1), including in the
presence of the HCV Gln80Lys polymorphism at baseline
(11 [92%] of 12). The results were not significantly altered
by use of ribavirin, duration of treatment, or by use of
previous treatment (appendix p 1).

Similarities in baseline characteristics and SVR12 rates
for cohorts 1 and 2 allowed data pooling to assess the
effects of ribavirin, treatment duration, and baseline
HCV Gln80Lys status on the primary outcome. In the
ITT population, SVR12 was seen in 98 (91%) of 108
patients who received ribavirin versus 56 (95%) of 59 of
those who did not. Rates were similar by treatment status
(38 [95%] of 40 treatment-naive patients vs 116 [91%] of
127 previous non-responders) or treatment duration (77
[949%] of 82 after 12 weeks of treatment vs 77 [91%] of 85
after 24 weeks). Neither ribavirin nor treatment duration
had a clear effect on SVR in patients infected with HCV
with the GIn80Lys polymorphism at baseline. Rates were
high in patients infected with HCV genotype 1a,
irrespective of HCV Gln80Lys polymorphism status at
baseline, and in those infected with genotype 1b
(figure 2). The only baseline characteristic that notably
affected virological response was age 45 years or younger,

which was associated with a disproportionate number of
non-virological failures (figure 3).

In cohort 1, group 1, 19 (79%) of 24 patients achieved
SVR12, which was notably lower than in the other
treatment groups {all more than 90%). The difference
was due to patients discontinuing treatment for non-
virological reasons or missing data at the time of
virological response assessment (appendix p 2). When
these patients were excluded, the rate in cohort 1, group 1
increased to 95% (19 of 20 patients). The overall rate after
exclusion was 96% (appendix p 2). Moreover, after
exclusion the response rates in the subgroups of pooled
patients were 96% in patients who did (98 of 102) and did
not (54 of 56) receive ribavirin, 94% (77 of 82) after
12 weeks of treatment and 99% (75 of 76) after 24 weeks
of treatment, and 95% (117 of 123) in patients with HCV
genotype 1a (49 [93%] of 53 infected with HCV with the
Gln80Lys polymorphism at baseline and 68 [97%] of 70 of
those without). Among treatment-naive patients 37 (95%)
of 39 achieved SVR12, compared with 115 (97%) of
119 previous non-responders (METAVIR scores FO~F4),
SVR rates remained high across all subgroups: cohort 1,
54 (95%) of 57 for genotype la (24 [899%] of 27 infected

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24 weeks of treatment 12 weeks of treatment Total (n=167)
Group 1 Group 2 Group 3 Group 4.
(n=54) (n=31) (n=54) (n=28)
Any AE 51 (94%) 29 (94%) 46 (85%) 20 (71%) 146 (87%)
Grade1or2AE 45 (83%) 25 (81%) 40 (74%) 18 (64%) 128 (7%)
Grade3 AE 5 (9%) 13%) 5 (9%) 2 (7%) 13 (8%)
Grade 4 AE 12%) 3 (10%) 12%) 0 5 (3%)
Any serious AE 3 (6%) 1(3%) 0 0 4 (2%)
Death 1(2%)* 0 0 0 1 (4%)
Any treatment-related AE 42(78%) 20 (65%) 38 (70%) 13 (46%) 113 (68%)
Possibly related to simeprevir 32 (59%) 17 (55%) 31 (57%) 13 (46%) 93 (56%)
Possibly related to sofosbuvir 31.(57%) 19 (6196) 25 (46%) 10 (36%) 85 (51%)
Possibly related to ribavirin 40 (74%) ” 36 (67%) ” 76 (70%)
AEs leading to permanent discontinuation of all study drugst
Total 2 (4%) 2 (7%) 0 0 4(2%)
Toxicity to alcohol and vaprescribed narcotics 1(2%) 0 0 0 14%)
Raised blood concentrations of creatinine 0 1(3%) 0 0 1(1%)
phosphokinaset
Aggression 1(2%) 0 0 0 1 (1%)
Renal failures 0 1.(3%) 0 0 1 (1%)
AEs of special interest
Increased bilirubin 6 (11%) 108%) 5 (9%) QO 227%)
AEs of clinical interest
Rash (any type) 10 (19%) 5 (16%) 42. (20%) 3 (11%) 29 (17%)
Pruritus (any type) 9 (17%) 4.03%) 5 (9%) 4 (44%) 19 (11%)
Neutropenia 0 1(3%) 0 0 1 (1%)
Anaemia 16 (30%) 1(3%) 7 (13%) 0 24 (14%)
Photosensitivity conditions 2 (4%) 2 (7%) 3 (6%) 2 (7%) 9 (5%)
AEs were classified according to the Medical Dictionary for Regulatory Activities preferred terms, AE-adverse event. *This death was related to the toxicity to alcohol and
unprescribed narcotics AE. tPatients who discontinued one or more study treatments did not necessarily withdraw from the study. Occurred during strenuous exercise and
relation to treatment was deemed doubtful; concentrations resolved completely after treatment was stopped. §Reported as worsening renal insufficiency in a patient with
baseline renal function impairment related to arterial hypertension and was not deemed to be related to study treatment; symptoms resolved after treatment was stopped,
Table 2: Pooled safety outcomes for cohorts Land 2 during treatment

 

 

with HCV with the Gln80Lys polymorphism and
30 [100%] of 30 without), four (100%) of four with the
IL28B CC genotype, and 67 (96%) of 70 with non-CC
genotypes; cohort 2, 63 (96%) of 66 with genotype la
{including 25 [96%] of 26 with the HCV Gin80Lys
polymorphism and 38 [95%] of 40 of those without). All
genotype Ib patients after exclusions in both cohorts
achieved SVR (35/35).

All patients who achieved SVR12 also achieved SVR4.
More than 91% of patients overall achieved SVR4
(appendix p 3). Rapid virological response was achieved
in 81% of patients overall (appendix p 3), but SVR12 was
still achieved in all but one who had detectable HCV
RNA titres 4 weeks after the start of treatment.

No patients experienced on-treatment virological
failure, including viral breakthrough. Six patients had
viral relapse after the end of treatment (appendix p 4). At
the time of relapse, five of the six had developed
resistance-associated mutations to simeprevir (Arg155Lys,
Aspi68Glu, Ile170Thr), but none to sofosbuvix. Five had
received 12 weeks of treatment, and four had the HCV

Gln80Lys polymorphism at baseline (appendix p 4). Viral
relapse was not associated with reduced speed of viral
decay during weeks 1-4 of treatment (appendix p 5).

The pharmacokinetics analysis showed no effect of
sofosbuvir on simeprevir exposure. Simeprevir increased
exposure to sofosbuvir relative to historical data, but did
not increase the major circulating metabolite of
sofosbuvir (PSI-G202). The observed changes were not
clinically important and no dose modifications were
required (appendix pp 6-7).

For assessment of safety outcomes, the data from
cohorts 1 and 2 were pooled (table 2). Four (2%) patients
discontinued all study treatment because of AEs. All
were randomised to 24 weeks of therapy but three
discontinued before week 12; no patients discontinued
ribavirin only. The most common AEs were fatigue in
52 (31%) patients, headache in 33 (20%), and nausea in
26 (16%), but none of these was deemed to be clinically
important. 87% (range 71-94) of patients reported at least
one AE during the treatment period, but most were grade
lor 2 (table 2).

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n/N 6/7 22/23 14/11 11/12 4/4 12/12) SIS) 7/7 S/S 20/22 7/8 13/14 3/3 10/11 3/3717 18/19 64/68 26/27 38/40
Figure 2: Patients who D
achieved sustained :
virological response :
12 weeks after the planned _ :
end of treatment inthe & :
intention-to-treat | 2 :
population, by treatment = :
group | = i
(A) Cohorts 1. and 2. (B) HCV & :
subtype and presence of the s :
HCV Gln80Lys polymorphism Ss :
at baseline in cohort 1. (C) * :
HCV subtype and presence of t
the HCV GIn80Lys : : i = 1
polymorphism at baseline in Group 1 Group 2 Group 3 Group 4 All groups
cohort 2. (D) HCV subtype and 24 weeks 12 weeks Overall
presence of the HCV Gin80Lys % 91% 86% 83% 90% 88% 100% 100% 100% 100% 93% 88% 96% 100% 91% 89% 92% 95% 92% 88% 94%
polymorphism at baseline n/N 10/11 37/43 19/23 18/20 7/8 23/23 9/9 14/14 11/41 40/43 15/17 25/26 717 19/21 8/9 13/12 35/37 119/130 51/58 68/72
pooled for cohorts Land 2. KeyforB,CandD MMIGT1b GHGTia CAGTiaGIngolys (IGT 1anoGin80lys
GT=genotype.
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median increases 7-0-10-0 pmol/L from baseline, with
the highest values being seen in week 2 and resolving
completely after the end of treatment), mostly in patients
receiving ribavirin. No concurrent transaminase increases
were seen. Most episodes of hyperglycaemia were grade 1
(43%) and most amylase abnormalities were grade 1 or 2
(26% and 14%, respectively).

Haemoglobin concentration lower than 105 g/L was
less frequent in patients receiving 24 weeks of treatment
without ribavirin than in the other groups (group 2, 3%
vs group 1, 17%; group 3, 6%; and group 4, 4%;
appendix pp 9-10). Anaemia reported as an AE was also
less frequent in the groups not receiving ribavirin than in
those receiving ribavirin (table 2}.

Serious AEs were infrequent. All were seen in groups 1
and 2 in cohort 2 (two during and two after the first
12 weeks of treatment; group 1 retinal tear and visual
impairment n=1, cholelithiasis n=1, and toxicity to alcohol
and unprescribed narcotics n=1, and group 2 anaemia
n=1). Two patients died during the study, one of ischaemic
stroke during follow-up in cohort 1 and one due to a fatal
accident (patient with toxicity to alcohol and unprescribed
narcotics) during the treatment period. Serious AEs and
deaths were all deemed unrelated to treatment.

The frequency of grade 1-2 AEs was similar in the two
cohorts; the frequency of grade 3-4 AEs was also similar.
Among patients in cohort 1 the rate of grade 3 or 4 AEs
was not affected by treatment duration or the addition of
ribavixin. In cohort 2, most grade 3 or 4 AEs occurred in
group 1 (appendix pp 8~9).

 

 

 

 

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Articles
One (2%) of 54 patients in each of groups 1 and 3 and nN
three (10%) of 31 in group 2 reported grade 4 AEs, but,
overall, grade 3 or 4 AEs were reported in less than 5% of Overall poy 154/167
all patients, except increased blood amylase concentration, | sex
which was reported in two (4%) of patients in group1,two | Female f+ 59/60
(7%) in group 2, and three (6%) in group 3. There were ee origin 95/107
no cases of clinical pancreatitis, and laboratory values ; Black — 30/31
improved despite continued dosing. Miepenicoe latino bo ars
Rash (any type, grade 1 or 2), pruritus (in the 24-week | NotHispanicortatino be] 324/132
treatment groups), hyperbilirubinaemia, and anaemia | Age-sroup(vears)
were reported more frequently in the groups receiving a to<65 be seas
ribavirin than in those not receiving ribavirin (table 2, | >65 -——————* 8/9
appendix pp 8-9). Most rash and photosensitivity AEs os category (kg/m) alas
were deemed to be related to one or more of the study | 225to<30 i, 57/61
drugs but did not lead to permanent discontinuation of | 3). -—— 56/62
therapy and decreased from 4 weeks after the end of | ¢ genotype }-—___+ 21/23
treatment. or Fe 100/104
The most common laboratory parameter abnormalities hey genotype and subtype 33/39
were hyperglycaemia (up to grade 3), bilirubin, and | » on 35/37
amylase concentration (both grade 4 in one patient each, | # ., olys To ee
appendix pp 9-10). 75 (45%) patients had hyper Ja with Gin80lys —— 51/58
bilirubinaemia, mostly in the groups receiving ribavirin | METAVIRscore
(group 1, 29 [5496] of 54 and group 3, 32 [59%] of 54).Of | 883
these, ten (6%) and one (1%) episodes were grade 3 and 4, | 3 b+ 44/46
respectively. However, few hyperbilirubinaemia events | 4 ~~ 38/41
were reported as AEs (table 2). Increases in bilirubin 0 20 40 60 80 100
concentrations (mainly indirect) were transient (range of Observed proportion of patients with SVR12 with 95% Cl

 

 

Figure 3: The relative impact of baseline characteristics on sustained virological response in the

intention-to-treat population

BMl=body-mass index. HCV=hepatitis C virus. SVR12=sustained virological response 12 weeks after planned

end of treatment.

Discussion

The use of combined simeprevir and sofosbuvir in
patients infected with HCV genotype 1 led to high rates
of SVR12 even though patients had multiple factors
traditionally associated with low cure rates with
peginterferon and ribavirin-based treatments, including
compensated cixrhosis and non-response. The treatment
was generally well tolerated.

Rapid virological response (within 4 weeks of the start
of treatment) was seen in 81% of patients. SVR12 rates
were similar in patients with and without rapid
response (96% vs 97%) and, therefore, rapid response
did not predict SVR. Treatment for 24 weeks and the
addition of ribavirin did not clearly improve SVR rates
in patients with advanced fibrosis or compensated
cirrhosis, previous non-response to therapy, or the
HCV Gln80Lys polymorphism present at baseline.
Viral relapse could not be predicted from viral kinetics
during the first 4 weeks of treatment, although, notably,
SVR was robust in the 12-week treatment groups (94%
when non-virological failures were excluded from the
analysis). Five of the six patients with viral relapse were
treated for 12 weeks, including all three patients who
had advanced fibrosis. A benefit from extending
treatment to 24 weeks in at least a subset of patients
cannot, therefore, be entirely ruled out. The HCV

wwew.thelancet.com Published online july 28, 2014. http://dx.doi.org/10.1016/S0140-6736(14)61036-9

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Articles

 

mutations seen in patients treated with simeprevir and
sofosbuvir have also been seen in those who had
treatment failure with simeprevir plus peginterferon
and ribavirin” and, either alone or in combination with
the Gln80Lys polymorphism, generally have conferred
high-level resistance to simeprevir.*

Patients with previous non-response to protease
inhibitor therapy were not enrolled in this study, although
they have been included in studies involving the NS5SA
inhibitor, daclatasvir, which has a mechanism of action
not affected by protease-inhibitor-related mutations.
Similarly, we did not enrol patients with previous failure
to NS5A inhibitors. In view of the prevalence of the
natural NSSA polymorphism associated with resistance
to NS5SA inhibitors, however, some patients with pre-
existing NS5A mutations might have been successfully
treated with combined simeprevir and sofosbuvir.

In phase 3 studies of simeprevir combined with
peginterferon and ribavirin, the Gln80Lys polymorphism
in HCV genotype 1a was associated with reduced rates of
SVRI2. (58%) compared with that in patients infected
with HCV without this mutation (84%). By contrast, in
COSMOS, the combination of simeprevir and sofosbuvir
resulted in high rates of SVR in patients infected with
HCV genotype la with the Gln80Lys polymorphism,
including in those with compensated cirrhosis (91% in
the ITT analysis). Moreover, the efficacy against HCV
with the Gln80Lys polymorphism was not affected by
whether or not ribavirin was used or the treatment

Panel: Research in context

Systematic review

We searched PubMed up to May 1, 2014, for clinical trials done in patients infected with
hepatitis C virus (HCV) genotype 1, with the terms “HCV”, “hepatitis”, and “interferon-
free”. The HCV treatment landscape has evolved from the well established standard of
care with pegylated interferon (peginterferon) and ribavirin to include direct-acting
antiviral agents, such as boceprevir and telaprevir. Although these agents in combination
with peginterferon and ribavirin have improved sustained virological response rates, they
are not suitable for all patients owing to frequent dosing and worsening of anaemia and
rash adverse events. In addition, the adverse events associated with injectable interferon-
based therapies hinder or prevent their use in some patients. We investigated the efficacy
and safety of two second-generation direct-acting antiviral agents, with or without
ribavirin.

Interpretation

Our study combined an NS3/4A protease inhibitor and a nucleotide analogue NSSB
polymerase inhibitor. The rates of sustained virological response were high and those of
virological failure were low. These results were similar to those in a study of combined
ledipasvir, an investigational NS5A inhibitor, with sofosbuvir.* Data from our study”®
support the current clinical practice guidelines from the American Association for the
Study of Liver Diseases and the Infectious Diseases Society of America,” which
recommend the use of sofosbuvir and simeprevir in patients infected with HCV
genotype 1 who are ineligible for interferon-based regimens or have previously not
responded to interferon-based therapy. The European Association for the Study of the
Liver recommends an interferon-free regimen of daily simeprevir and sofosbuvir, with or
without ribavirin, for 12 weeks.

duration. Despite the decreased sensitivity to simeprevir
conferred by the Gln80Lys polymorphism,” its effect on
treatment outcomes seemed to be subsiantially
attenuated or even eliminated by the addition of
sofosbuvir, which is a potent antiviral agent with a high
barrier to resistance. The potency of the combined
regimen is underscored by the difference in SVR rates
between this study and 10% in a study of non-responders
infected with HCV genotype 1 who were treated with
sofosbuvir and ribavirin.” Indeed, the efficacy achieved
without ribavirin in our study might avoid ribavirin-
associated AEs. Similar high rates of SVRI2 were
reported in a study of patients infected with HCV
genotype 1 who received daclatasvir plus sofosbuvis, with
or without ribavirin, for 12 or 24 weeks.” Other
interferon-free regimens are expected to become
available, such as ledipasvir (GS-5885) and sofosbuvir,
ABT-450 (a protease inhibitor) and ritonavir with
ombitasvir and dasabuvir, and. asunaprevir and
daclatasvir, although no head-to-head studies have yet
been done to compare these regimens.

In the COSMOS study, the viral relapse rate was low
and mainly coincided with the emergence of mutations
that have previously been associated with simeprevir
resistance®* No sofosbuvirrelated mutations were
observed.

In accordance with other studies of simeprevir or
sofosbuvir in ribavirin-containing regimens,” fatigue,
headache, and nausea were the most frequent AEs and
abnormalities in laboratory parameters correlated with
use of ribavirin. AEs in COSMOS were mild to moderate,
clinically manageable, and less frequent than are seen
with interferon-containing regimens. Few grade 3 or 4
AEs or serious AEs were reported, and very few patients
discontinued treatment due to AEs. In particular,
METAVIR score was not associated with treatment
discontinuation due to AEs, which supports the view that
this therapeutic regimen is well tolerated in patients with
compensated cirrhosis.

Our results support the hypothesis that the additive
effects of ribavirin-induced haemolysis and simeprevir
inhibition of transporters involved in the metabolism of
bilirubin lead to the increases in bilirubin concentrations
seen previously in patients receiving simeprevir-based
therapy.” In our study, raised bilirubin concentrations
were almost exclusively seen in patients who received
ribavirin, which suggests that the effect of simeprevir
on bilirubin metabolism would not be clinically
measurable in the absence of ribavirin-induced
haemolysis.

Of note, on the basis of interim data from this study,”
clinical guidance from the American Association for the
Study of Liver Diseases and the Infectious Disease Society
of America” has been changed to recommend that
patients infected with HCV genotype 1 who do not
respond to peginterferon or ribavirin or who are
treatment-naive and not eligible for peginterferon-based

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Articles

 

therapy should be treated with 400 mg sofosbuvir and
150 mg simeprevir once daily, with or without ribavirin,
for 12 weeks. The European Association for the Study of
the Liver guidelines” state that patients infected with
HCV genotype 1 can be treated daily with an interferon-
free regimen of 150 mg simeprevir plus 400 mg sofosbuvir
for 12 weeks, and that the addition of ribavirin does not
confer a major advantage. These guidelines do, however,
suggest considering the use of ribavirin in patients with
predictors of poor response to therapy, especially previous
non-responders, patients with cirrhosis, or both.

The strengths of this study are the enrolment of a
population of patients traditionally judged difficult to
cure owing to baseline characteristics historically
associated with poor rates of SVR, and the evaluation ofa
short ribavirin-free treatment regimen. Limitations
include the open-label study design, a small number of
patients per treatment group, and inadequate statistical
power to conclusively demonstrate a lack of difference
between subgroups.

Overall, the combination of simeprevir and sofosbuvir
seemed to be efficacious and well tolerated by previously
non-responsive and treatment-naive patients with chronic
HCV genotype 1 infections (panel). Efficacy was seen in
those with compensated cirrhosis, and ribavirin might not
be required to achieve high rates of SVR. This regimen
addresses the unmet clinical need for highly effective oral
interferon-free treatment options in patients with
advanced fibrosis or cirrhosis and who have previously not
responded to peginterferon or ribavirin. On the basis of
our data, the efficacy and safety of oral combined
simeprevir and sofosbuvix without ribavirin is being
assessed in the phase 3 OPTIMIST clinical programme.

Contributors

EL was the principal investigator of the trial, was involved in setting up
the study, was responsible for the clinical supervision of patients and
performance of the study, and contributed to the preparation and writing
of the manuscript. MSS, RG, MR-T, ZMY, AC, ED, BP, MR, NG, JKL, PJP,
JDS, and IMj were the study investigators and were responsible for the
clinical supervision and treatment of patients, involved in the acquisition,
analysis, and interpretation of the data, and critically reviewed the
manuscript. TL and KC participated in the study design and execution,
and in the interpretation of the data. BF did the virology analysis. BF,
SO-M, WTS, KLL, and MB provided scientific input in the clinical study
and contributed to the writing of the manuscript. GP was responsible for
the conduct and overview of the trial, analysis of the data, review of the
clinical study report, and contributed to the writing of the manuscript.

Declaration of interests

EL has received research support from AbbVie, Achillion
Pharmaceuticals, Boehringer Ingelheim, Bristol-Myers Squibb, Gilead
Sciences, Idenix Pharmaceuticals, Janssen, Merck & Co, Novartis,
Presidio, Roche, Santaris Pharmaceuticals, and Vertex Pharmaceuticals;
has acted as part of the speaker's bureau for Gilead, Janssen, Kadmon,
Merck, and Vertex Pharmaceuticals; and has been a board or advisory
panel member for AbbVie, Achillion Pharmaceuticals, BioCryst, Biotica,
Enanta, Idenix Pharmaceuticals, Janssen, Merck & Co, Novartis, Santaris
Pharmaceuticals, Theravance, and Vertex Pharmaceuticals. MSS is a
member of the Janssen Pharmaceuticals Scientific Advisory Board; has
acted as a consultant or advisory board member for AbbVie Inc,
Boehringer Ingelheim Pharmaceuticals Inc, Bristol-Myers Squibb,
Gilead Sciences Inc, Idenix Pharmaceuticals Inc, Merck & Co Inc, and
Tobira Therapeutics Inc; has participated on the data safety monitoring

board for Gilead Sciences Inc and the study steering committee for
Pfizer Inc; and has been an investigator for AbbVie Inc, Boehringer
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Inc, Merck & Co Inc, and Vertex Pharmaceuticals. MR-T has acted as a
consultant or advisor for Akros, Bristol-Myers Squibb, Genentech,
Hoffiman-La Roche, Inhibitex, Janssen, Merck Sharp & Dohme,
Pharmasset, Santaris, and Vertex, and has received research/grant
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Janssen, and Merck. PJP has received research grants from Janssen,
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served as an advisor/consultant to Janssen, Vertex, Gilead, Bristol-Myers
Squibb, Roche/Genentech, Intercept, Merck, Novartis, Beckman Coulter,
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Janssen, Merck, and Roche/Genentech; and has a patent pending for
antiviral resistance testing. BF, SO-M, KC, GP, RK, and MB are
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employee of Janssen Research and Development. WTS is an employee of
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Novartis, Roche, Merck, Janssen, and Vertex; has acted as a consultant or
adviser for AbbVie, Achillion, Boehringer Ingelheim, Bristol-Myers
Squibb, Gilead, Idenix, Novartis, Roche, Schering, Merck, Janssen, and
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Gilead, Janssen, Roche, and Vertex. The other authors declare that they
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Articles

 

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Exhibit 6

 
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1 of 3

= FiercePharma

J&J's pharma unit 'fastest-growing' in the drug
business, CEO Gorsky says

by Tracy Staton | Jan 20, 2015 9:29am

Johnson & Johnson's ($JNJ) new drugs came through again.
Thanks to treatments from psoriasis-fighter Stelara to
antipsychotic Invega Sustenna, the company's pharma sales

were up a whopping 25% in the U.S. for 2014, and 15%
worldwide, to $32.4 billion.

 

CEO Alex Gorsky was quick to brag that J&J's prescription
drugs unit is the biggest in the U.S. and the fastest-growing
pharma in the business. That's a good thing for the company,
particularly in the fourth quarter, because its pharma segment
helped buoy less-than-fantastic results in consumer health,
which only just brought some key brands back to full supply
after 2010's spate of recalls, and its medical devices unit.
Fourth quarter sales were down slightly overall, thanks in part
to currency effects.

But some tougher times are ahead. Fourth-quarter growth
wasn't as high as for the full year, partly because of a slowdown
for one of the biggest performers in J&J's pharma business last
year, its hep C treatment Olysio. Approved late in 2013, Olysio
topped $2.3 billion in global sales for 2014, a big chunk of
overall drug revenue. The drug also won a new FDA indication

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Don't worry about orphan drug costs,
study says. The years of fast growth
are over

Sep 08, 2016

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2 of 3

in November, as a combo treatment with Gilead Sciences'
($GILD) blockbuster Sovaldi. But even so, now that Gilead
Sciences' hep C combo pill Harvoni and AbbVie's (S$ABBV)
Viekira Pak are on the market, Olysio's spot in hepatitis C

cocktails is precarious.

So, those sales are now at risk. J&J felt the need to point out its
pharma growth without hepatitis C--and its 2015 forecast
includes the same qualifier. For the fourth quarter, pharma
sales would have grown by 11.3% without its hep C franchise,
compared with 13.9% including those meds.

Meanwhile, its anticoagulant Xarelto is facing some stepped up
competition from Pfizer ($PFE) and Bristol-Myers Squibb's
(S$BMY) big marketing push on Eliquis. Xarelto has staked out a
big piece of the market for warfarin alternatives, but the
Pfizer-BMS drug could endanger that. The prostate cancer drug
Zytiga saw growth slide a bit during the fourth quarter, thanks
to new competition from Medivation (SMDVN) and Astellas'
treatment Xtandi. And Novartis' new psoriasis fighter
Cosentyx—approved in Japan and now Europe, with FDA's
decision coming soon--could prove to be strong competition
for Stelara, thanks to some head-to-head trial data.

In fact, Goldman Sachs analyst Jami Rubin last week cut her
recommendation on J&J stock to "sell" from "neutral," because
she's looking for fewer new drugs this year from the company.

lronically enough, any softness in the pharma business is
expected to be offset in 2015 by the devices and consumer
health segments, which are expected to do better this year
than in previous years, CFO Dominic Caruso said during a call
with analysts.

- read the J&J release

Special Reports: Top 10 pharma companies by 2013 revenue -
J&J

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With Biogen launch, the U.K. has two
anti-TNF biosims. In the U.S.? Not
soon, analyst says

Sep 08, 2016

About the Author

“ Tracy Staton
| Editor-in-Chief
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Exhibit 7

 
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Please counsel on the DDI language for atorvastatin: Concomitant use of OLYSIO with
atorvastatin resulted in increased plasma concentrations of atorvastatin due to
inhibition of OATP1B1 and/or CYP3A4 by simeprevir. Use the lowest necessary dose
of atorvastatin, but do not exceed a daily dose of 40 mg when co-administering with

OLYSIO.

 

Patient Case

Discussion Questions

+ Jack is now through 10 weeks of treatment with
OLYSIO® + sofesbuvir at which time he calls your office
to report that he was recently given an Rx for
atorvastatin by his cardiologist. Will you change Jack’s
current HCV regimen based on this information?

   

OLYSIO£

SIMEPRE VIR
Sara

 

 

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Exhibit 8

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 “Page 29 of 99 Page ID #:232

 

important Safety Information
Use in Specific Populations

+ Pregnancy Category C: Adequate and well controlled trials with OLYSIO? have not
been conducted in pregnant women OLYSIO® should be used during pregnancy only if
ihe potential benefit justifies the potential risk. Female patients of childbearing potential
should use an effective coniraceptive method.

+ Race: Patients of East Asian ancesiry exhibit higher simeprevir exposures. In clinical
trials. higher simeprevir exposures have been associated with increased frequency of
adverse reactions, including rash and photosensitivity. There are insufficient safety
data to recommend an appropriate dose for patients of East Asian ancestry. The
potential risks and benefits of OLYSIO? should be carefully considered prior to use in
patients of East Asian ancestry.

* Renal Impairment: No dose adjustment of OLYSIO® is required in patients with mild,
moderate or severe renal impairment. The safety and efficacy of OLYSIO? have not
been studied in HCV-infected patients with severe renal impairment (creatinine
clearance below 30 mL/min) or end-stage renal disease, including patients requiring
dialysis. Simeprevir is highly protein-bound: therefore, dialysis is unlikely to result in
significant removal of simeprevir.

 

   

OLYSIO£

SAE PREVIK

 

  

Please present slide in its entirety.

 
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Exhibit 9

 
      

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Exhibit 10

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16" Page 33 of 99 Page ID #:236

From: Hughes, Jeremy [TTTUS]

Sent: Thursday, February 19, 2015 11:40 AM

To: Baird, Amy [TTTUS]; Damavandi, Bita [TITUS]; DAVIE, WILLIAM [TTTUS]; Jaisinghani,
Manisha [COBIUS]; Lloyd, Ron H. [COBIUS]; Neuburg, Lisa [TTTUS]; Washington,Wilbur
[TTTUS]

Subject: FW: Olysio Success Story

Hey Pride,

Please see story below- | know Olysio is difficult so it makes it all the more important to identify situations where MD
can “believe” that there is a good reason they should be using it (especially given coverage issues).

Similarly, please send in any successes you may have and/or situations of KOLs that have committed to where they will
still use OLY.

From: Issa, Mohamed [TTTUS]

Sent: Wednesday, February 18, 2015 4:16 PM

To: Brown, Anthony [TTTUS]; Wojecki, David [TTTUS]

Cc: Whyte, William [TTTUS]; Srinivasan, Nithya [TTTUS]; Giotis, Karen JANUS]
Subject: FW: Olysio Success Story

Tony — Thanks for sharing this terrific success story. Most notable, your persistence to get time with a tough customer,
your ability to stay poised and make your case once given the opportunity and finally courage to close hard/specific
made this a success. Nice work and keep it up!

Mo

From: Wojecki, David [TTTUS]

Sent: Wednesday, February 18, 2015 7:11 PM

To: Marfil, RAFAEL [TTTUS]; Ziegler, Norma [TTTUS]; Bryant, Latoyia [TTTUS]; Gallegos, Pedro [TTTUS]; McCormack,
Nicole [TTTUS]; Mattina, Laura [TTSUS]; Barrere, Naima [TTTUS]; Brown, Anthony [TTTUS],; Kennedy, James [TTTUS]
Cc: Issa, Mohamed [TTTUS]

Subject: FW: Olysio Success Story

Team, Tony had a breakthrough call today with a key customer. Dr. Machicao, is a KOL and Medical Director at

UT. The last call with him was frustrating as he was trending to a NON USER. He allowed Tony time to make his case,
which at that point was handling his misperception on coverage, and bring him back to the prior success curing patients
he had, especially in cirrhotic patients.

This call Tony focused on patient type selling and in particular the patient living with GERD. You know the risks of a
patients taking Harvoni for 8, 12 or 24 weeks while trying to deal with the symptoms and issues of GERD. Unfortunately
it’s real, as you can see from Tony's message. This is the 2nd provider who reported patient failures on Harvoni in
combination with PPI’s in our district in the last week.

You all are passionate about these issues and patients. Keep them in mind as you help your customer realize the best
solution for these patient types is Olysio-sof. This specific example is shared for internal purposes only.

Nice job Tony, and thanks for your leadership in sharing your success story. Look forward to seeing the results of your
call and congrats and helping Dr Machicao provide a better solution for these patient types.

1

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16> Page 34 of 99 Page ID #:237

From: Brown, Anthony [TTTUS]

Sent: Wednesday, February 18, 2015 4:06 PM
To: Wojecki, David FTTTUS]

Cc: Brown, Anthony [TTTUS]

Subject: Olysio Success Story

Dave,

| want to share a success story today. | had a meeting this morning with Dr. Victor Machicao, Medical Director,
Transplant Hepatology, Associate Professor of Medicine, Division of Gastroenterology. Dr. Machicao oversees the HepC
C Clinic for Memorial Hermann/University of Texas. University of Texas is one of the largest Liver Centers in

Houston. Dr. Machicao had previous experience with Olysio/sof but his utilization had been slowing after the launch of
Harvoni. His current utilization of Olysio/sof has been limited.

Reviewing my pre call planning, | was going to discuss specific patient types that are appropriate for Olysio/sof and
product access. As we were discussing appropriate patients such as those on acid reducing agents, he informed me that
the failures of those patients he has on Harvoni have all been on PPI’s. He defined those failures as still detectable at
week 2-4. After experiencing this first hand, he agreed that Olysio/sof is the appropriate patient type for those on PPI’s
and will definitely utilize this regimen moving forward.

After closing on this patient type, | discussed the access to Olysio/sof and the resources available to deliver pull through
to the patient.

Tony Brown
Executive Sales Specialist
Local Market Specialist

“ween,
Janssen J eae”

Janssen Specialty Hepatology/Immunology

Janssen Therapeutics, Division of Janssen Biotech, Inc
1125 Trenton-Harbourton Rd

Titusville, NJ 08560

abrown22@its.jnj.com

cell: 713-306-4850

fax: 281-993-9831

VM: 800-588-4616 ext. 8088

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error, please reply to the sender, so that Johnson & Johnson can arrange for proper delivery, and then please delete the message from
your inbox. Thank you.

 
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Exhibit 11

 
Case 2:16-cv-06997-RGK-RAO Document1-2 Filed 09/16/16~ Page 36 of 99 Page ID #:239

From: Damavandi, Bita [TTTUS]

Sent: Tuesday, December 9, 2014 10:42 AM

To: Baird, Amy [TTTUS]; Jaisinghani, Manisha [COBIUS]
Cc: Lloyd, Ron H. [COBIUS]

Subject: RE; Shifts for post AASLD

if those shift work for you guys great! | am attaching the agenda so you can see when your docs are on. Looks like Amy,
Manisha and myself have docs both days. Ron if you don’t have the desire to be there Saturday and have no docs, you
can cover all day Sunday. See what works for you.

| will be there both days from 7:30 to about 11.
And most importantly please bring any materials you have!!!

Thanks!

, Inc.

SATURDAY, DECEMBER 13, 2014

7:00 AM Registration/Breakfast/Exhibit Hall

7:00 AM Product Theater Breakfast

Sponsored by: Wako Diagnostics

8:00 AM Welcome and Introduction

John Donovan, MD

8:05 AM State-of-the-Art Lecture: Non-Alcoholic Fatty Liver Disease
Francisco Durazo, MD, FACP

8:45 AM Update: NASH Abstracts from AASLD

Mazen Noureddin, MD

9:05 AM Controversies: Pro and Con of Steroids for Alcoholic Hepatitis
Vinay Sundaram, MD, MsC vs. Tim Morgan, MD

9:35AM Panel Discussion and Q&A

Moderator: John Donovan, MD

Panelists: Francisco Durazo, MD, FACP; Jeff Kahn, MD; Tim Morgan, MD
Mazen Noureddin, MD; Vinay Sundaram, MD, MsC

10:15 AM Break/Exhibit Hall

10:45 AM Update: Hepatitis B Abstracts from AASLD

Steven-Huy Han, MD

11:15 Am State-of-the-Art Lecture: Liver Biopsy vs. Non-Invasive Tests of Fibrosis
Robert Gish, MD

11:55 PM Q&A

12:30 pm Closing Remarks/Adjournment

Tram Tran, MD

12:30 pM Product Theater Lunch

Sponsored by: Gilead Sciences, Inc.

 
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2014 PosT-AASLD SYmPosiUM AGENDA

SUNDAY, DECEMBER 14, 2014

7:00 AM Registration/Breakfast/Exhibit Hall

8:00 AM Welcome and Introduction

Steven-Huy Han, MD

8:05 AM State-of-the-Art Lecture: New Imaging Modalities for Liver Lesions
Steve Raman, MD

8:45 AM Update: HCC Abstracts from AASLD

John Donovan, MD

9:05 AM State-of-the-Art Lecture: Obscure Gi Bleeding in the Cirrhotic Patient
Simon Lo, MD

9:45 AM Panel Discussion and Q&A Moderator: Steven-Huy Han, MD
Panelists: John Donovan, MD; Francisco Durazo, MD, FACP; Simon Lo, MD; Steve Raman, MD
10:15 Am Break/Exhibit Hall

10:45 AM Update: Hepatitis C Abstracts from AASLD

Paul Pockros, MD

11:25 AM Panel Discussion and Q&A

Moderator: Tram Tran, MD

Panelists: Walid Ayoub, MD; Brian Kim, MD; Paul Pockros, MD;

Sammy Saab, MD, MPH, AGAF, FAASLD

12:15 pm Closing Remarks/Adjournment

Tram Tran, MD

enc,
janssen J ap

Tea Damavandi, MPH, MAIO

Janssen Specialty Hepatitis/Immunology
Interim DM

888-323-6700 #7837
310-210-2482 cell

  
 

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From: Baird, Amy [TTTUS]

Sent: Monday, December 08, 2014 8:16 PM

To: Jaisinghani, Manisha [COBIUS]

Cc: Damavandi, Bita [TTTUS]; Lloyd, Ron H. [COBIUS]
Subject: RE: Shifts for post AASLD

Hey all,

 
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Just to be clear... the exhibit hours 7am-12:30pm. Sorry about that.

How about Sat
7-10

Amy

Tea

10-12:30

Ron

Manisha

Sun

7-10

Ron

Tea
10-12:30
Manisha

Amy

Amy J. Baird

Sr. Immunology & Hepatology Specialist
San Diego / Las Vegas

Mobile: (619) 621-7730

Email: abaird7@its.inj.com

From: Jaisinghani, Manisha [COBIUS]

Sent: Monday, December 08, 2014 3:59 PM

To: Baird, Amy [TTTUS]

Cc: Damavandi, Bita [TTTUS]; Lloyd, Ron H. [COBIUS]
Subject: Re: Shifts for post AASLD

Hey guys,

The booths are predetermined by the conference so if you feel that you are comfortable setting up in the
morning, that should be just fine and no need to go in Friday night. I just set up the night before last time
because I was alone and wasn't sure about traffic.

Let's work together to make sure we have adequate coverage, but salvage as much of our weekends as possible!
Best,

Manisha Jaisinghani, M.B.A.

Immunology/ Hepatology Senior Specialist
Janssen Specialty-Hepatitis/Immunology
Cell (805) 906-9818

e-mail MJaising@its.jnj.com
[x] 3

 

Janssen Therapeutics
Division of Janssen Biotech, Inc.

 
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1125 Trenton Harbourton Road
Titusville, New Jersey 08560

On Dec 8, 2014, at 12:00 PM, "Baird, Amy [TTTUS]" <ABaird7@ITS.JNJ.com> wrote:

I will have to let you know about Friday. Not sure when I can get in yet. I will aim to be there by
7.

Amy J. Baird
Sr. Immunology & Hepatology Specialist
San Diego / Las Vegas

Mobile: (619) 621-7730
Email: abaird7@its.jnj.com

On Dec 8, 2014, at 9:38 AM, Damavandi, Bita [TTTUS] <BDamavan@its.jnj.com> wrote:

Probably Amy if you are available to come in earlier on Friday, it may relieve our anxiety.
Though | am flex. | don’t think our TV set up works any way, so we only have to set up
the table with our printed materials. So it will be a very brief set up! Its more about
reserving the right table. (i will try to come early as well, though | have CCs nearly the
whole day)

Lam open!
Thank you !

Tea

<image002.jpg>
Tea Damavandi, MPH, MAIO

Janssen Specialty Hepatitis/Immunology
Interim DM

888-323-6700 #7837
310-210-2482 cell

<image003.png>

From: Lloyd, Ron H. [COBIUS]

Sent: Monday, December 08, 2014 7:20 AM

To: Jaisinghani, Manisha [COBIUS]; Damavandi, Bita [TTTUS]; Baird, Amy [TTTUS]
Subject: RE: Shifts for post AASLD

I’m flexible as well. | can do either early or late shift. Have we decided on Set-Up? Are
we doing the Set-Up on Friday night or early Sat.?

Thanks,

 
Case 2:16-cv-06997-RGK-RAO Document1-2 Filed 09/16/16 Page 40 of 99 Page ID #:243

Ron Lloyd

Senior Sales Specialist

Janssen Specialty — Hepatitis/Immunology
Infectious Diseases

<image004.jpg>

Janssen Therapeutics, Division of Janssen Biotech, Inc.
1125 Trenton-Harbourton Road, Titusville, NJ 08560
Cellular: (714) 376-0917

E-mail: rlloyd2@its.jnj.com

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transmission in error, please reply to the sender, so that we can arrange for proper delivery, and then please delete the message
from your inbox. The unauthorized use, dissemination, distribution or reproduction of this e-mail, including attachments, is
prohibited and may be unlawful. Receipt by anyone other than the intended recipient(s) is not a waiver of any attorney/client or
other privilege. Thank you.

From: Jaisinghani, Manisha [COBIUS]

Sent: Sunday, December 07, 2014 10:28 PM

To: Damavandi, Bita [TTTUS]; Lloyd, Ron H. [COBIUS]; Baird, Amy [TTTUS]
Subject: Shifts for post AASLD

Hi Amy, Ron & Tea,

What are your thoughts on taking shifts for post AASLD. There isn't any need for
4 of us at any one time at the booth. From my experience at post DDW 3 is the
max that can be at the booth without being crowded.

I would prefer to work a later shift. Does anyone else have a preference? Should
we figure out a schedule?

Best,

Manisha Jaisinghani, M.B.A.
Immunology/ Hepatology Senior Specialist
Janssen Specialty-Hepatitis/Immunology
Cell (805) 906-9818

e-mail MJaising@its.jnj.com

 

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Exhibit 12

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 ~ Page 42 of 99 Page ID #:245

From: Issa, Mohamed [TTTUS]

Sent: Thursday, October 9, 2014 2:06 PM

To: Wojecki, David [TTTUS]; Damavandi, Bita [TITUS]; Marfil, RAFAEL [TTTUS]; Williams, Alan
[COBIUS]; Wolfe, Lynn [TTTUS]

Ce: Maroulis, Michelie [COBIUS]; Perez, Policia [COBIUS]

Subject: Access workshop at POA - your role

Hi all,

Just wanted to share more details re: the Access Workshop during our upcoming POA. The final deck is posted to
JSL.com.

This workshop will focus on the skill of PULL THROUGH (not the resources we have, but the skill of navigating the path
once the patient has been identified). A few logistics:

e Region will be split in 2
e Each room will have 4 stations around the perimeter of the room
e The 4 stations include:
1. HCP
2. Biiling/Reimbursement Manager
3. Nurse
4. Specialty Pharmacy
e Sales Specialist teams (of 4 or 5) will rotate to each station - At each station, individuals on a team deliver a
progressive call in round robin fashion (1 have randomly assigned the teams)
* The “stakeholder” at each station will ask questions and raise concerns and prompt the next person to continue
the call until all Specialists have participated (DMs and Mkt will most likely be the stakeholder)
e $3 Vendor, Policia and myself will be there to help facilitate the logistics, movement, time, etc.

Your Roles:
DM — Play the role of stakeholder at a station as outlined above

Rafael and Susanna — Role play what GREAT looks like in front of your peers (share what has worked well for you and has
enabled your procurement success) — this will happen at the beginning before we start the station rotations.

Room assignments (will be in your Janie app):

West POA

Access - DMs at stations
Room i - DW and Tea

Room 1 rep demo - Rafael
Room 2 - AW, LW and Steve
Room 2 rep demo - Susanna

If you have any questions, please feel free to reach out to me. | know there are many moving pieces and | just want to
make sure everything is clear. . thanks!

 
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Mohamed Issa |West Region Business Director, JSHI
1125 Trenton-Harbourton Rd, Titusville, NJ 08560
Office: 609 730 6038|Mobile: 718 734 8556

 
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Exhibit 13

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16> Page 45 of 99 Page ID #:248

From: Damavandi, Bita [TTTUS]

Sent: Thursday, January 29, 2015 10:43 AM

To: Baird, Amy [TTTUS]; Damavandi, Bita [TTTUS]; DAVIE, WILLIAM [TTTUS]; Jaisinghani,
Manisha [COBIUS]; Lloyd, Ron H. [COBIUS]; Neuburg, Lisa [TTTUS]; Washington,Wilbur
[TTTUS]

Subject: FW: December 2014 AASLD Guidelines

Attachments: ATT00001 txt

From: Wojecki, David [TTTUS]

Sent: Thursday, January 29, 2015 6:43 AM

To: Marfil, RAFAEL [TTTUS]; Ziegler, Norma [TTTUS]; Gallegos, Pedro [TTTUS]; Bryant, Latoyia [TTTUS]; McCormack,
Nicole [TTTUS]; Mattina, Laura [TTSUS]; Barrere, Naima [TTTUS]; Kennedy, James [TTTUS]; Brown, Anthony [TTTUS]
Cc: Damavandi, Bita [TTTUS]; Williams, Alan [COBIUS]; Pusateri, Dean [TTTUS]; Egan, Stephen [TTTUS]; Wolfe, Lynn
[TTTUS]; Issa, Mohamed [TTTUS]

Subject: December 2014 AASLD Guidelines

Team

Clinical Expertise is one of 4 main Competencies in our JT Model and plays a key role in having Selling Impact and
Influence. In 2015 one of our goals is to elevate our clinical acumen and a tactic is to spend additional time dedicated to
itasateam. We discussed the latest AASLD and today we'll dive in deeper into the latest update in December which
once again positioned Olysio-Sof in an outstanding position.

This is for education purposes and cannot be used in the field. We can continue to reference that OLYSIO-sof is a
recommended regimen in the AASLD guidelines.

As we discussed the Olysio-Sof regimen has the same level of recommendation, RECOMMEND, as Harvoni and Viekira
Pack for all G1 patients who are Naive or TE (TE with Peg/Riba-not prior Pl).

The Guidelines also specifically point out the need to choose a regimen based on patient specific data, including 2
patient types in particular we are targeting for OLYSIO-sof (acid modifying DDI, and patient who’s intolerable to
Ribaviran-anemia). This aligns with our strategy and reinforces our opportunity to define who the OLYSIO-sof patient is
today and close for them.

“When several regimens are offered at the same recommendation level they are listed in alphabetic order. In this case
consideration of choice of regimen should be determined based on patient-specific data, including drug interactions. As
always, patients receiving antiviral therapy require careful pretreatment assessment for comorbidities that may influence

treatment response. All patients should have careful monitoring during treatment, particularly for anemia if RBV is included in

the regimen. (See Monitoring Section)”

“In particular, the daily fixed-dose combination of ledipasvir (90 mg) and sofosbuvir (400 mg) (hereafter ledipasvir/sofosbuvir)
has a potential interaction with acid-suppressing medications, for example proton pump inhibitors, which may result in
decreased absorption of ledipasvir and lower exposures. Because of over-the-counter access to acid-suppressing

medications, a comprehensive assessment of all prescribed and over-the-counter medications is recommended prior to
1

 
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initiating treatment. If possible, acid-suppressing medications should be held prior to and during the HCV treatment period to
optimize ledipasvir exposure. For patients in whom interruption of acid suppression is not possible, dosing of acid

suppressants is recommended per the prescribing information.”

Dave —

From: nataphcv [mailto:nataphcv-bounces@natap.org] On Behalf Of nataphcv@natap.ora
Sent: Monday, December 22, 2014 8:46 AM

To: nataphcv undefined; HCV/HIV natap natap; undefined Natap industry; natap doctors doctors; hiv natap natap
Subject: NATAP: Update HCV Guidelines

www.natap.org

Update to HCV Guidelines
http://www.hevguidelines.org/

Friday, December 19, 2014

The Initial, Retreatment, Monitoring, and Unique Populations (...

Read more >>

Guidance Sections Updated

Friday, December 19, 2014

The Initial, Retreatment, Monitoring, and Unique Populations (HIV/HCV Coinfection, Cirrhosis, Post-Liver
Transplantation, and Renal Impairment) sections have been extensively revised based on newly available
therapies.

 
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4. Genotype ta

j Three options with similar efficacy in general are recommended for treatment-naive
patients with HCV genotype ta infection (sted in alphabetic order; see taxt).

Daily fixed-dose combination of ledipasvir (90 mg)fsofosbuvir (400 mg) for 1Z
weeks* is recommended for treatment-naive patients with HCV genotype ta
infection.

“See text for further detail on length of treatment

Rating: Class |, Laval A

Daily fixed-dose combination of paritaprevir (150 mg)/ritonavir (100
mg)fombitasvir (25 mg} plus twice-daily dosed dasabuvir (250 mg) and
weight-based RBV (1000 mg [<75 kg] to 1200 mg [>75 mg]) for 12 weeks (no
8 cirrhosis) or 24 weeks (cirrhosis [see also Cirrhosis Section) is
# recommended for treatment-naive patients with HCV genotype 1a infection.

Rating: Class |, Level A

# Daily sofosbuvir (400 mg) plus simeprevir (150 mg) with or without
weight-based RBV (1000 mg [<75 kg] to 1200 mg [>75 kg]} for 12 weeks (no
cimhosis) or 24 weeks (cirrhosis [see also Cirrhosis Section)) is
recommended for treatment-naive patients with HCV genotype 1a infection.

A Rating: Class lla, Level B

 

 
    

AMERICAN ASSOULALION FUR
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VISION

to prevent and cure liver disease

 
 

Update to Recommendations for Testing, Managing,
and Treating Hepatitis C

AASLD and the Infectious Diseases Society of America (IDSA), in collaboration with the Intemational
Antiviral Society-USA (IAS-USA), released an update to the Recommendations for Testing, Managing,
and Treating Hepatitis C on www.hcvguidelines.org.

The updated recommendations provide guidance on the use of interferon-sparing antiviral treatment
regimens that were recently approved by the Food and Drug Administration. The following sections
have been revised:

 
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¢ Initial Treatment of HCV Infection in Patients Starting Treatment

e Retreatment of Persons in Whom Prior Therapy Has Failed

e® Monitoring Patients Who Are Starting Hepatitis C Treatment, Are on Treatment, or Have
Completed Therapy

e Unique Patient Populations

Visit www.hcvguidelines.org to view the revised sections.

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Exhibit 14

 
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Pain’ Intensity Rating:
~:~, Duration of Pain:
Past Medical History:

PATIENT PROFILE: DAVID*'

Medications:

40 Gender: Male
African American Occupation: Police Officer

© Hurt his back in a bad fall while at work, experiencing
sharp pain in his lower back with intermittent episodes of
dullness, tingling, and aching that radiate down to his toes

© Having difficulty walking and bending

_ © Has.selfmedicated with over-the-counter (OTC) pain

relievers, but has found no pain relief
Severe—8 (on a scale of 0-10}
5 days.
No relevant medical or surgical history
OTC pain relievers

   
   
 
 
 
 
 

 

 
 
 
 
 
 
 
 
   
 

     
 
 
   
 

. © Xray and MRI of the lumbar spine showed a small disk
herniation at L, ,

- ® Low back pain with small L, ; disk herniation associated
with probable radiculopathy

“Treatment Considerations: * Choose an efficacious agent for optimal acute pain control
fo Es _ © Treat pain by addressing both ascending and
descending pathways

 

 

*Not an actual patient.

. *Patients with acute low back pain were studied in the Phase lil
3 clinical trials for NUCYNTA™. NUCYNTA" is indicated for the relief

wee * : of moderate io severe acute pain in patients 18 years of age or older.
NWUCYNTX @

~ tapentadol

 

   

BREE YE POS COENEN EA SER RRNRET Ed PEPE OSL TE Ole Cpa MAROC A TE PORT

EES SES EELS BONNET Se AIS OS CETL ES A PE CED

: For the relief of moderate fo severe acule pain in patients 18 years of age or older vy

IMPORTANT SAFETY INFORMATION

-.@ like olher drugs with mu-opioid agonist activity, NUCYNTA" is contraindicated in patients with significant respiratory depression, acule or severe bronchial
~~ asthmaror hypercapnia in unmonitored settings or in the absence of resuscitative equipment. NUCYNTA" is contraindicated in patients who have or are
suspected fo have paralytic ileus. NUCYNTA™ is also contraindicated in patienis currently using or within 14 days of using monoamine oxidase inhibitors
-- {MAOIs} due fo potential additive effects on norepinephrine levels, which may result in adverse cardiovascular events.

© Respiratory depression is the primarry risk of muopioid agonists, Respiratory depression occurs more frequently in elderly or debilitated patients and in those
suffering from conditions accompanied by hypoxia, hypercapnia, or upper airway obstruction, in whom even moderaie therapeutic doses may significantly
decrease pulmonary ventilation. NUCYNTA™ should be administered with caution to the elderly, debilitated patients, and patients wilh conditions accompanied’

by hypoxia, hypercapnia or decreased respiratory reserve such as: asthma, chronic obstructive pulmonary disease or cor pulmonale, severe obesity, sleep’
apnea syndrome, myxedema, kyphoscoliosis, CNS depression, or coma. In such patients, even usual therapeutic doses of NUCYNTA™ may increase airw
resistancé and decrease respiratory drive fo the point of apnea. Alternative nonmuopioid agonist analgesics should be considered and NUCYNTA" should be
employed only under careful medical supervision at the lowest effective dose in such patients. If respiratory depression occurs, it should be treated as any

» muopioid agonistinduced respiratory depression. ;

* Patients receiving other muopioid agonist analgesics, general anesthetics, phenothiazines, other ranquilizers, sedatives, hypnotics, or other CNS depressants
{including alcohol} concomitantly with NUCYNTA™ may exhibit additive CNS depression. Interactive effects resulting in respiratory depression, hypotension,
profound sedation, coma or death may result if these drugs are taken in combination with NUCYNTA™. When such combined therapy is contemplated, a dose
reduction of one or both agents should be considered.

* Opioid analgesics can raise cerebrospinal fluid pressure as ai result of respiratory depression with carbon dioxide retention. Therefore, NUCYNTA" should not
be used in patients suscepiible fo the effects of raised cerebrospinal fluid pressure such as those with head injury and increased intracranial pressure. Opioid
analgesics may obscure the clinical course of patients with head injury due to effects on pupillary response and consciousness. NUCYNTA™ should be used
with caution in patients with head injury, intracranial lesions, or other sources of preexisting increased intracranial pressure.

¢ NUCYNIA" is.a muopioid agonist and is a Schedule I controlled substance. Such drugs are sought by drug abusers and people with addiction disorders.
Diversion of Schedule II producis is an act subject to criminal penalty. NUCYNTA™ can be abused in a manner similar to other muopioid agonists, legal or
illicit. This should be considered when prescribing or dispensing NUCYNTA" in situations where the physician or pharmacist is concemed about an increased
risk of misuse and abuse. All patients treated with muopioid agonists require careful monitoring for signs of abuse and addiciion. NUCYNTA™ may be abused
by crushing, chewing, snorting or injecting the product. These practices pose a significant risk fo the abuser that could result in overdose and death.

" Please see Important Safety Information continued on the back of this page and enclosed full Prescribing Information.

 

 

 
 

 

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NUCYNTA"— FOR THE RELIEF OF MODERATE TO SEVERE ACUTE
PAIN IN PATIENTS 18 YEARS OF AGE OR OLDER

Single Molecule
* Combines opioid and nonopioid activity in one centrally acting oral analgesic

Extensively Evaluated in Multiple Pain Models

* End-stage joint disease study (10 days)’

° Orthopedic/ postoperative (bunionectomy}?3

* 90-day safety study (lower back pain and osteoarthritis)4

Dosing Options
* Dosing is one tablet of 50 mg, 75 mg, or 100 mg every 4 to 6 hours
depending on pain intensity
— Patients can receive a second dose of NUCYNTA™ as early as 1 hour
after initial dose, if needed, on Day 1
¢ Maximum 24-hour dose of NUCYNTA™ on Day 1 is 700 mg

and on subsequent days is 600 mg. Higher doses have not been. NUCY] | LAX Ci

studied and are therefore not recommended tapentadol

 

* Refer fo full Prescribing Information for dosing .
adjustment information Visit www.NUCYNITA.com for more information.

IMPORTANT SAFETY INFORMATION (ona)

* Experience with NUCYNTA™ overdose is very limited. Management of overdose should be focused on treating symptoms of muopioid agonism. Primary
Gitention should be given fo reestablishment of a patent airway and institution of assisted or controlled ventilation when overdose of NUCYNTA" is suspected.
Supportive measures {including oxygen and vasopressors) should be employed in the management of circulatory shack and pulmonary edema accompanying
overdose as indicated. Cardiac arrest or arrhythmias may require cardiac massage or defibrillation.

* Patients should be cautioned that NUCYNTA" may impair the mental and/or physical abilities required for the performance of potentially hazardous tasks such
as driving a car or operating machinery. This is to be expected especially at the beginning of irealment, at any change of dosage as well as in combination
with alcohol or tranquilizers.

* NUCYNTA" has not been systematically evaluated in patients with a seizure disorder, and such patients were excluded from clinical studies. NUCYNTA™ -
should be prescribed with care in patients with a history of a seizure disorder or any condition that would put the patient at risk of seizures.

* The development of a potentially lifethreatening serotonin syndrome may occur with use of SNRI products, including NUCYNTA", particularly with concomitant
use of serotonergic drugs such as SSRis, SNRs, TCAs, MAOIs and triptons, and with drugs which impair metabolism of serotonin {including MAOIs). Serotonin
syndrome may include mentalstatus changes (eg, agitation, hallucinations, comal, autonomic instability (eg, tachycardia, labile blood pressure, hyperthermia},
neuromuscular aberrations (eg, hyperreflexia, incoordination) and/or gastrointestinal symptoms (eg, nausea, vomiting, diarrheal.

* Withdrawal symptoms may occur if NUCYNITA" is discontinued abruptly. These symploms may include: anxiely, sweating, insomnia, rigors, pain, nausea,
tremors, diarrhea, upper respiratory symptoms, piloerection, and rarely, hallucinations. Withdrawal symptoms may be reduced by tapering NUCYNTA™.

* Pregnancy Category C. There are no adequate and welkconirolled studies of NUCYNTA" in pregnant women. NUCYNTA" should be used during pregnancy
ONIY if ihe potential benefit justifies the potential risk to the fetus. NUCYNIA" is not recommended for use in women during and immediately prior to labor
-and delivery. Neonates whose mothers have been taking NUCYNTA" should be monitored for respiratory depression, NUCYNTA" should not be used
during breastfeeding. .

* NUCYNIA" is not recommended in patients with severe renal or hepatic impairment. NUCYNTA" should be used with caution in patients with moderate
hepatic impairment. like other drugs with muopioid agonist activity, NUCYNTA™ may cause spasm of the sphincter of Oddi and should be used with caution in
patients with biliary tract disease, including acute pancreatitis,

* The most common adverse events are nausea, dizziness, vomiting, somnolence’and headache.

Please see enclosed full Prescribing Information.

References: 1. Haririck C, Van Hove |, Stegmann JU, Oh C, Upmolis D. Efficacy and tolerability of tapentadol immediate release and oxycodone HC] immediate release in patients

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phase 3 study of the relative efficacy and tolerability of tapentadol IR and oxycodone IR for acute pain. Curr Med Res Opin. 2009;2516}:1551-1561. 4. Hale M, Upmolis D, Okamoto A,
lange C, Rauschkolb C. Tolerability of tapentadol immediate release in patients with lower back pain or osteoarthritis of the hip or knee over 90 days:

Pri Cara a randomized, double-blind study. Curr Med Res Opin. 2009;25(5)}: 1095-1 104.

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Exhibit 15

 
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NUCYNTA
Suggested Presentation

Revised: February 23, 2009

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[COVER]

Doctor, over the last few months we’ve had many conversations about pain
relief...as we have discussed the pathophysiology of pain is often mixed,
involving both ascending and descending pain signaling pathways, take for
example your Back and Neck pain patients.

That leads us to NUCYNTA, a new product for treating moderate to severe
acute pain that can provide a different approach to pain relief.

[SPREAD 1: LEFT]

NUCYNTA is the first new molecule in 25 years for the relief of moderate to
severe acute pain in adult patients 18 years or older.

NUCYNTA is a single molecule with a different approach to pain relief.
[SPREAD 1: RIGHT]

NUCYNTA is the only centrally acting analgesic that combines opioid and
nonopioid activity in a single molecule for moderate to severe acute pain—
offering a dual MOA acting on 2 established pain pathways.

NUCYNTA acts as a mu-opioid receptor agonist and norepinephrine reuptake
inhibitor.

Pure opioid analgesics bind to mu-receptors in the ascending pathways.
Norepinephrine reuptake inhibition acts in the descending pathways, and both
of these pathways reduce pain signaling.

Think about your back and neck pain patients for example. By working on both
the ascending and descending pathways, NUCYNTA’s dual mechanism of
action addresses the complex pathology of pain in these patients by offering a
different approach to pain relief.

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[SPREAD 2: LEFT and RIGHT]

Dr. let’s start with Efficiacy, | would like to provide data from 2 pivotal clinical
trials. One in patients with End State Joint Disease (osteoarthritis) and one
Post

Op Orthopedic model in patients undergoing bunionectomy. NUCYNTA 50 mg
and 75 mg demonstrated opioid efficacy in each study, showing superiority over
placebo and comparable efficacy to 10mg of Oxycodone (as you can see in this
ESJD reprint carrier).

Doctor, NUCYNTA has demonstrated opioid efficacy in two different pain trials,
therefore | would like you to consider 50mg of NUCYNTA as the starting dose
for your patients in need of relief of moderate to severe acute pain. Does this
seem reasonable?

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[SPREAD 3: LEFT]

Now let’s focus on the tolerability of NUCYNTA. We will look at the same 2
pivotal clinical trials and take a closer look at the 50mg dose.

This graph shows the composite incidence of nausea and vomiting in patients
with End State Joint Disease (osteoarthritis). Patients taking NUCYNTA 50 mg
had a 21.7% incidence of nausea and vomiting. In the same study, patients
taking 10 mg oxycodone IR had a 57% incidence of nausea and vomiting and
Placebo 8.3%.

[SPREAD 3: RIGHT]
Gl tolerability was also demonstrated in the post op orthopedic model.

In this bunionectomy study, the composite incidence of nausea and vomiting
with NUCYNTA 50 mg was 35% and there was a 59% incidence with
oxycodone IR 10 mg and Placebo was 17%.

So Doctor, we just reviewed the efficacy and GI tolerability of NUCYNTA. How
do you think your back and neck pain patients might benefit from taking
NUCYNTA?

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[SPREAD 4: LEFT]

Doctor, in addition to the low incidence of nausea and vomiting that we just
covered, let’s take a look at other common adverse events. NUCYNTA was
extensively evaluated in multiple pain models, including one 90 day study.

These are AEs reported w/ incidence greater than or equal to 5%. Take the
End-Stage Degenerative Osteoarthritis Study, for example. This was a 10 day
study. Look at how low the incidence of constipation, CNS, dizziness,
somnolence and pruritus was with the 50 mg NUCYNTA dose.

[Probe] Can you see how NUCYNTA’s GI tolerability profile may provide
treatment benefits, for your back and neck pain patients?

[SPREAD 4: RIGHT]

Tolerability is important for patients to maintain therapy. NUCYNTA
demonstrated low discontinuation rates due to AEs across studies of at least
a10-day duration.

Additionally, there was a low incidence of opiate withdrawal symptoms. Where
NUCYNTA was administered for up to 90 days, 83% of patients taking
NUCYNTA reported no withdrawal symptoms after abruptly stopping treatment.

NUCYNTA delivered proven efficacy and tolerability with low discontinuation
rates. Do you think your back and neck pain patients may realize an
improvement in pain treatmen with NUCYNTA?

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[SPREAD 5: LEFT]

NUCYNTA has a proven safety profile. NUCYNTA is primarily metabolized by
phase II glucuronidation and primarily does not rely on cytochrome P450. As a
result, there were no clinically relevant CYP450-related drug-drug interactions
seen in studies. And, there are no active metabolites.

In clinical studies patients who were taking SSRIs or SNRIs were included if
they were on stable doses for at least one month. You should be aware of the
safety information and use your medical judgment accordingly.

NUCYNTA dosing is 50 mg, 75 mg, or 100 mg every 4 to 6 hours depending
upon initial pain intensity.

On day 1, patients can receive a second dose of NUCYNTA as early as 1 hour
after initial dose administration, as needed to achieve adequate analgesia. The

maximum
24-hour dose of NUCYNTA on day 1 is 700 mg, and 600 mg thereafter.

[SPREAD 5: RIGHT]

With more than 3,000 patients enrolled in Phase Il] and Illb clinical studies,
NUCYNTA has been widely studied in multiple pain models and diverse patient

types.

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Review of important safety information

Like other drugs with mu-opioid agonist activity, NUCYNTA is contraindicated in
patients with significant respiratory depression, acute or severe bronchial
asthma or hypercapnia in unmonitored settings or in the absence of
resuscitative equipment.

NUCYNTA is contraindicated in patients who have or are suspected to have
paralytic ileus. NUCYNTA is also contraindicated in patients currently using or
within 14 days of using monoamine oxidase inhibitors (MAOIs) due to potential
additive effects on norepinephrine levels, which may result in adverse
cardiovascular events.

NUCYNTA is a mu-opioid agonist and is a Schedule II controlled substance.
Such drugs are sought by drug abusers and people with addiction disorders.
Diversion of Schedule II products is an act subject to criminal penalty.
NUCYNTA™ can be abused in a manner similar to other mu-opioid agonists,
legal or illicit.

Patients should be cautioned that NUCYNTA™ may impair the mental and/or
physical abilities required for the performance of potentially hazardous tasks
such as driving a car or operating machinery. This is to be expected especially
at the beginning of treatment, at any change of dosage as well as in
combination with alcohol or

Withdrawal symptoms may occur if NUCYNTA™ is discontinued abruptly.
These symptoms may include: anxiety, sweating, insomnia, rigors, pain,
nausea, tremors, diarrhea, upper respiratory symptoms, piloerection, and rarely,
hallucinations. Withdrawal symptoms may be reduced by tapering
NUCYNTA™.

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[BACK COVER]

NUCYNTA is the first new molecule in 25 years for the relief of moderate to
severe acute pain in patients 18 and older.

NUCYNTA provides a dual MOA in a single molecule—targeting 2 pain
pathways for analgesic efficacy with unexpected GI tolerability—and may allow
patients to stay on therapy and realize the benefits of pain therapy.

The efficacy of NUCYNTA 50 mg has been proven across multiple pain models.
So remember doctor, for your patients in need of relief of moderate to severe
acute pain, start with 50 mg NUCYNTA.

[CLOSE]

NUCYNTA can address the complex pathology of many pain types such as
back and neck pain. Due to the proven efficacy, and low incidence of treatment
limiting side effects, do you see how NUCYNTA may lead to treatment
improvements?

(lf YES): Doctor, in order for you and your patients to realize the benefits of
NUCYNTA, it is necessary to give NUCYNTA a fair trial in your patients. Will
you use NUCYNTA instead of Oxycodone (or current opioid) in all of your
appropriate new back and neck pain patients for the next month?

(If NO): What do you believe would be a reasonable trial of NUCYNTA in order
to give your patients the opportunity to experience the benefits?

[Value Discussion]

Thank you for your commitment to trial NUCYNTA. | want to bring your
attention to the fact that NUCYNTA is a new branded product, and your patients
will experience a higher co-pay when they go to the pharmacy, similar to what
your patients pay for LYRICA and CYMBALTA. Are you comfortable describing
to your back and neck pain patients the value that NUCYNTA may provide in
the treatment of their pain?

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To assist your efforts | will be leaving some coupons with you and your nurse to
help your patients with their co-pay. And | want to let you know that | have
checked to see that NUCYNTA is stocked at pharmacies A, B, and C.

FLASHCARD SCRIPT

In this additional data, the proven opioid efficacy of all doses of NUCYNTA was
demonstrated in this orthopedic/postoperative (bunionectomy) study.

As you can see, the change in pain intensity was measured by mean SPID (Sum of Pain
Intensity Difference) of all doses of NUCYNTA vs placebo at 48 hours...the primary end
point. Oxycodone IR 15 mg was included in the study for assay sensitivity.

The higher the SPID score, the greater the pain relief.

All doses of NUCYNTA — 50 mg, 75 mg, and 100 mg were statistically superior to placebo at
24, 48, and 72 hours.

And, NUCYNTA demonstrated a rapid onset of action with confirmed perceptible pain relief

as early as 32 minutes.

Can you see how the proven efficacy of NUCYNTA could benefit your moderate to severe
acute pain patients?

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Exhibit 16

 
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AN ANNOTATED GUIDE

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INTRODUC I NG N UCYNTA tapentadol)

PriCara® is pleased to offer the most recent product in our pain management franchise.
NUCYNTA™ is the first new molecule in decades indicated for the relief of moderate fo
severe acute pain in patients 18 years of age or older. With NUCYNTA™, physicians can
now consider another approach to pain management that may lead to better pain relief
for their patients.

This annotated guide is specifically designed to help you expand your knowledge
about NUCYNITA™ and increase the effectiveness of your product presentation.
Strategic Insight

In the treatment of moderate to severe acute pain, NUCYNTA” is believed to selectively
work through mu-opioid agonism and norepinephrine reuptake inhibition, thereby
providing pain relief. In addition fo its proven efficacy, NUCYNTA™ offers a favorable GI
profile. Physicians can prescribe NUCYNTA™, knowing that their patients are receiving
pain relief without some of the tolerability concerns that may lead to discontinuation

or nonacherence.

Objectives

¢ Introduce NUCYNTA”™, a single molecule with dual action that takes a different
approach fo providing pain relief

Review the proven efficacy of NUCYNTA™ shown in clinical trials
* Demonstrate the unexpected Gl tolerability profile of NUCYNTA™
* Generate interest in prescribing NUCYNTA” for appropriate patients

Key Messages

¢ NUCYNITA"™ is a different approach to pain relief, combining opioid and
nonopioid activity in one centrally acting analgesic

* NUCYNTA™ 50 mg and 75 mg offer proven efficacy

¢ NUCYNTA™ 50 mg demonstrated a low composite incidence of nausea
and vomiting

¢ NUCYNIA™ offers a proven safety profile

 

 
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EXTENSIVELY EVALUATED—

WITH LOW DISCONTINUATION RATES

12

Adherence is often a concern for physicians when prescribing a pain medication.
In this spread, you can discuss the adverse events associated with NUCYNTA™ and the
low rates of discontinuation.

Relay information

Doctor, this chart illustrates the adverse events reported in each of the pain studies, including
those reported in a 90-day safety study. You may note that the low incidence of nausea and/or
vomiting with NUCYNTA™ was also seen in the 90-day safety study.

As you see in the following chart, Doctor, discontinuation due to nausea and/or vomiting is low
with all doses of NUCYNTA™.

You may also note that in the 90-day safety study, when treatment was stopped abruptly, 83%
of NUCYNTA™ patients reported no withdrawal symptoms as measured by the Clinical Opiate

Withdrawal Scale, or COWS. Tapering NUCYNTA™ may also help reduce any withdrawal
symptoms your patients might experience.

 

iipen dialogue

Doctor, how does this information affect your perception of NUCYNTA™?

[Address questions

Your customer may have questions about the studies and discontinuation rates.

Recap the data and Important Safety Information:

Treatmentemergent adverse events were studied up to 90 days. Discontinuation rates with
NUCYNTA™ were low, and there was a low incidence of withdrawal symptoms. NUCYNTA™ should
be used with caution in patients with biliary tract disease, including acute pancreatitis. All patients
treated with mu-opioid agonists require careful monitoring for signs of abuse and addiction.

 
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Exhibit 17

 
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LOW DISCONTINUATION RATES
DUE TO ADVERSE EVENTS

Incidence of discontinuation rates due to adverse events
in studies of at least 10 days duration 22% of patients?*

 

 

 

 

 

9-Day
End-Stage Safety Study
Degenerctive Osteoarthritis | {Osteoarthritis and
Study (10 Day}! low Back Pain}!
. _ (=666) (i=849) ..
Placebo: -HUCNTA™ =; Oxy | HUCRATAY = Oxy
50mg + 75mg § 10mg |50/100mg 10/15mg
1% : % % %
Nausea 2.54:°4 ¢° 33 5 Nn
Vomiting 4-00 3 8
Constipation : : | 5 2 6
Diarrhea ;
Dry Mouth
Dizziness 2 7 8 9 4 6
Somnolence 2; 6 2 3
Headache 2 2 4
Skin Pruritus {itching} 4 2
Generalized Pruritus
Hyperhidrosis
Fatigue 2
Asthenia 2

 

 

 

 

 

*Incidence based on number of subjects, not the number of events.
‘Dosing: Q4-6h during waking hours.
*Dosing: Q4-6h as needed.

z

LOW INCIDENCE OF WITHDRAWAL SYMPTOMS?

* In a safety study where NUCYNTA™ was administered for up to 90 days, 83% of patients
{n=306) reported no withdrawal symptoms after abrupily stopping treatment without initiating
alternative therapy

° Withdrawal symptoms assessed at least 2 days and less than 5 days after last dose of
study drug and determined using the Clinical Opiate Withdrawal Scale (COWS)

 

* Withdrawal symptoms may be reduced by tapering NUCYNTA™

 

tapentadol

 

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THE FIRST NEW MOLECULE IN ANALGESIA

IN OVER 25 YEARS FOR THE RELIEF OF MODERATE
TO SEVERE ACUTE PAIN IN PATIENTS 18 YEARS OF
AGE OR OLDER

Single Molecule

* Combines opioid and nonopioid activity in one centrally acting analgesic

Opioid Efficacy”
® Efficacy of NUCYNTA™ 50 mg and 75 mg demonstrated across multiple pain models

Gl Tolerability Profile?

* Low composite incidence of nausea and vomiting with NUCYNTA™ 50 mg

Proven Safety Profile
® No clinically relevant cytochrome P450-related
drug-drug interactions seen in studies
© Low discontinuation rates due to adverse events

Please see Important Safety Information on pages 12-13,
and summary of Clinical Trials on page Ti.

References:
1. Vanderah TW. Pathophysiology of pain. Med Clin North Am. 2007;91(1}:1-12.
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Prescribe NUCYNTA™

   

  

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Exhibit 18

 
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ueBoy uyor; Jayany auuezng uepied pisuoy PUEW@MS OHS UPD pay Jeusany euabn3 yo ‘'sseasuy soi} LLZoLre uosuyor esr}
ueBoy uyor; Jaan euuezns) uspleq pleuoy) pugians O15 UpLD pat! dauaenD euaing vo ‘ssojaiuy sort! LizoLre uosuyor esr]
uesox uyor uopled pjeuoy puBjeMms 9N3 UpUD pet! saueend euebing, vo'ssopbuy soy} Lizolpe uosuyor Bs]
uBGoy wyos| vepigg pjeuay| PUBTIBMS ONS) UplD po] susenD suebn3 WO ‘sg sajauy sot} LIZoLbe uosuyor BS;
ueBoy uyor| uepreg preuoy PUBIIOMS OHS UID PEL seupend eueing vo'sseeiuy soi] Ltizolre Gosuyor B5}"]
uafoy uyor| us pied preuoy pueyems ONS Up pai seuaeny eusing Vvo'ssejabuysot] Lizolre uosuyor Esl}
ueGors uyor| s3}/90N euuezng| uapied preuoy pugjans oL3 upia pet! dauaeny ausing vO 'ssujaiuy sol] LtZOLpe uosuyor Bsyy
ueBoy uyor Jajeny euvezns} uspueg preuoy PUEI|OMS OPS UPD pat Jauseny eueing wo ‘ssaeiuy sot] Lizoipe UOsUyop Bs}}
ueGopy uyor| Jejjeny auuezng| uapieg preuoy PUEIIaMS Duy UpyD pat JausenD eueiny Vo'Nsejabuy sol] ZizoLye VO 'N sajabuy S07 -juBae,,
ueGoy uyor Jojfenyy auuezng: Uspieg preuoy PUEHIAMS ONa UPD) Pal, Jauaanp eusing Wo'NsajeGuy sol] zZLzoLye ‘VO 'N sajebuy so7- jueves!
usBoH yor] sallenyy auuezns| uepieg preuoy PUES ONS UID PEL sauaend auebny vo'Nselabuy sol] zizotre VO 'N sajebuy 507) -WUEoeA,
ueBox uYor Jajfany euueZng uepueg preuoy; PUEIaMS OPA UpED PaL saueany eueing VO'NsajeBuy sol] zizoLre VO 'N sajebuy $07] -qWEDeA,
ueGoy uyor Jajjeny auuezns, uepieg pjauoy, PUEHEMS O13) UpuD pe! Jauseny auaBbny, VO'Nsajabuy sol] ZizoLre VO 'N sajabuy 507 - jUBOBA,
ueBoyH uyor! Jaen auuezng! uapieg preuoy PUBS O13 UID PaL dauaeny euséng: vo'NSeeBuy sol] zizorre Vo 'N saleBuy 50°] - eIeA;
ueBoy uyor sayeny auvezns} us pied preuoy puBijang Oa UPS pat! Jaueand eueing Vo'NsaaBuy sol] zizorre WO 'N sajaiuy soy - june,
ueBoy uyor, Jajeny euuezns uspieg preuoy, PUBTEMS OF, UpLD PBL! desusanp auebng VWo'Nselabuy sol] Zizolpe VO'N sajeBuy 607] -JUEDeA,
uBBoy uyor} Jayeny suuezng| uapieq preuoy PUBIIOMS ON UPHD pat JauBEnD euaing Wo'Nsaabuy sol] zizotye VO 'N sajebuy S07] - ueDBA,
ueBops uyor) Jayeny euuezng| uapleg pleucy: PUeEMS Ny UpLD pa! tausenp eueiny, VO'NSejebuy sol] ZLZOLre WO ‘N sejaiuy $07 - yWeNR A,
ueBoy yor Joyeny suuezng Uapieg pleuoy PUR}IEMS 9N3 UpLUd Pa L| dauseny eusiny VO'NsalaBuy sol] ZLZOLPe VO ‘N SajsGuy 807 - jUeOBA|
teGoy uyor sayanw euuezns| vapieg plevoy; PUBLIOMS O13 UPD PBL sousand euaing vo'Nsaabuy sol] 2tzotre VO ‘N sajoiuy so -UeIEA|
ueBox uyor zayenyy euUeZns| uepted pjeuoy! puejens Ny UPD Da} Jausenn suséing vo‘ssajabuy sol} Lizotre uosuyor esr]
ueGoy uyor Jojjanyw euuezng uapieg pleuoy PUEIIOMS IU3 UPD pal daugand euabng yo ‘aydw3 pug] sozoLre WO ‘esd Ws pUuElU] -JWEIBA,
ueBox uyor aayany suuezns| vepreg pleuoy; PUEVeMS ONS UYU pal! Jauaand aueing vo ‘aad pueuil g0z0LvE WO ‘agdwy pugyuy ~juB0B A,
ueBoy uyor Joyany euuezns} UspJeg pjeuoy| PUEIIOAg oHa UPD Pat] Jaueenp eusing Vo ‘exdwy puejuj] s0z0Lre YO ‘eadwy pugju] - ER A|
ueBoy uyor] sayany suuezns} uapieg pjeuoy| PUEIIEMS SUS UPS Pat JausendD euabny vo ‘audwa pueui] sozoLPe Vo ‘eadwig pueju) - eae,
usBoy uyor, Jayjany suuezng uapleg pjeuoy PUES ous UpYS Pal, Jaueand auabng vo 'Aunoy abueigl = oLzolre emefesey ugepy|
uefioy uyor Jayenyw euuezng uepleg pIELOY| pueyamg oy) UpUS pet, Jauaang susbn3| Vo 'Aunog eBueig} § o1zoLre emebasey ueelny|

Jarfanyw euvezng uspieq pjeuoy| puRjems sya UW pa! dayaeny aueing Yo ‘asda purty v9 ‘aydwa pusyu] - ese)

 

 

 

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ueBox uyor| ouneyy S12) deyeny auuezns uapieg preuay puBlIaMns oy UPD pat! sauBeny eueing WO'NseeBuy sol] ZEzoLPe VO 'N SaeBuy 07 - WeoeA,
ueBo}y uyor| oURIeW 1eyW) Jalan auuezng uepueg preuoy oy2! UpULRe pa] Jaueand euabng yo'Nsalabuy so7|  ZLZ0LPe V¥O'N salaBuy S07 -jueoey
ueGoy uyor] OUBIEW QeWN Jalan auuezng uspieg preuoy| PUEIEMS OU uputE) pat] Jeueeny auaing Vo'NseeBuy sor] zEzolre ¥O'N SajaGuy so% -yueoeA
ueGoy uyor| CURIE SEN) 4a1}anyW auuezng} uepled pyeuoy, pugtiems YS Ups pa. dauisenD evainy VO ‘NsafeBuy soy] ZLzoLPe WO 'N salauy so] -yueaes|
ueGoy uyor| OUEIEW S184) Jayjany euuezag, uapleq peuoY pUEIIEMS 919) UPD pa! deusany euabn3 Vvo'Nsajebuyso7} ZLZoLpe VO ‘N sajefuy $07 - wWeEORA
ueGoy uyor: OURIEW DEY) dejan euuezng} Uspueg plEuOY PUELIaAS OU upuLe Pe.L| sausend sueing WO'N sajeBuy soy] ZLZoLpe WO 'N sajeBuy so} -yweoR,
ueBoy uyor) OURIEW S1EW dJayany auuezng| uepieg pieuoy PUE}EMS Oo) upUS pet] dausand euséng VWO'NSejaBuy sol] ZLZOLee WO 'N sofeSuy $07 - ]UE0eA
ueBoy uyor} ouBeW osBy Joyjeny auuezns vepied preuoy pugs ouq Ups pe, dauaany aueing VO'N sejabuy sol} zizolre WO 'N sojoBuy so] -}URBA
ueBo} uyor| OUBIEW SEMI Jaen suueZns| uepieg peuoy upyits) Pa! daueand euabng Vo'Nsaaiuy sol] ZLZOLPe VO 'N sajaBuy S07 - UBORA,
teBoy uyor] OUEIEW D164) dajjeny auuezns} uepseg pleuoy pUEHeMS ONG, Uy pat Jausany suabny Wo'NsajaGuy sol] zizoLre WO 'N SajaGuy S07 -1UeoBA
weBor uyor| OUBIEW S221) Jayfany auuezng uepseq pleuoy, pueliamg oS ups pa. Jauseny eusing vo'Nsaabuy sol] zizoLye VO 'N safeSuy so7- uae,
ueGox uyor| OuaeYy Sue yy} Jayjeny auuezns uepieg peuoy) pugyems sya UD ps ssuseny sueing Vo'Nsajebuy sol] Zezotbe VO 'N sajeGuy so7 - jUBDEA,
uaBoy uuyor OURIBY 218] Jaan suuezng UBpIeEd PlEUo! PUELaMS ops) UMW Pal! daueanp aueBn3| YO'NsSalabuy so7] ZLzoLre VO 'N SajaBuy S07 - UEDeA,
ueGoy wyor, OURIEW 12) Jayeny euuezns uspueg pleuoy pUBIIaMS ON UD pet] Jauseny aueing Wo'Nsajebuy soz] Z1z01Pe WO 'N Sojaiuy so} -jUeRA
ueBoy uyor} ouwey SIEW Jalan suuezns| vepied pieuoy PUETIaMS 9Y5 UD pat sauaend euefing VO'N sajabuy sol} ZLzoLre VO'N sojaBuy so"]~ USE,
ueBoy uyor OURIBYy OEY), da}any auvezns: Uapled preuoy, UPS PAL} Jaugany eueBn3| VO'NSebuy sot] ZiZoLre VO 'N SajaBuy so7 ~ jUBDEA|
ueBoy wor OURIEYy O22) Jatjany auuezns uapieg pjeuoy UPD pat Jaueany euabng VWo'Nssjebuy so7]  ZLZOLPe YO 'N SajeBuy S07 -}UedRA,
ueBo} uyory OURIeWy S18) sayjany euuezng uepiBg pleuoy UPD pa sousenp eueing VvO'Nseebuy so7]  ZLzOLbe WO'N sejauy S07 - uBDBA
ueBoH uyor OUBIRW SJEW] Jajjeny esuuezns uapieg preuoy UPD Pat dauseny sueing Vo'Nsaleiuysoq| zizorre VO 'N sajaBuy so7 -UBIBA,
ueBox uyor ourley Q1ey) sayeny euuezns uapled peucY, upwO pe. ssuaany ausing Vo'N saleby sol] ZLZOLre. VO 'N SajaGuy 807 - jUEIeA,
ueBoy uyos| OURIeY SEW Jaen auuazng uepled pEUOY UW Pa daugany auebing vo'Nsajebuy sol] ZizoLre ¥O'N SajaGuy so’] -jUEIBA
ueBopy uyor] OueIeW IEW) Jayany suuezng| uepieg pjeuay UWS Pay] Jauaeny euebny vo ‘'ssajebuy sol] LiZoLre uosuyor es[7
ueBoy uyor] OUEJEW 121! Jayany auuezns| uepueg prevoy upIS pa] dauseny eusbng vos sojaBuy sot] LIZOLye YOSULIOF BS}7
upGoy uyop] OUBIEW DIB ayany euuezns| uepieg pleuoY UMD PAL sauaeny ouebng Wo'ssejaGuy sol] btZoLPe uosuyor est]
ueBoy uyop| OURIeYy S221] sojjanw euuezng, uepieg preuoy UPUED PAL sauseny susing vo 'gsajebuy sol] LLzoLre uosuyor B5]"]
ueBoH uyor] OURIEYWY 1B Jaylanyy euuezns: uapieg preuoy UpyD pe souseno aueing wo 'ssejabuy sol] LLZOLPEe uosuyor Bs}
ueBoy uyor) OUREW OIE dayenyy euuezns| uppieg paucy UpUD pas] dauseny eueing yo'ssojaiuy sol] Lizorre uosuyor Bs]
ueBoH uyor OUBIEA DEW, 4a/[anW auuezns| uepieg preuoy up pal Jaueany suebng vos sojaiuy sol] Eizorre uosuyor esy]
ueBopy yor, OUPIEW) DEW) dajany suuezns uepleg preuoy UAW Pat! qausany eusbng vo ‘Ssajahuy sol} ttzobre uOsUyop BSy]
ueBoH uyor, oueey qey) Jayjany auuezns vaped peuoY UYUS Pat deugany euaing Wo 'ssajsbuy sol} LEZOLPe uosuyor ess]
ueGop uyor OURIEW DEH) Jajjany suuezng Uepieg pjeuoy, Upye pay Jeusany sueing| vo'ssaaGuy sol} LZOLre uOsUyor esy7
ueBoy uyor OUBIEW Qe] Jayanyw euueZns| uspieg pleuoy, UND Pal sauseny susbny vo'ssaabuysol] LLZzorre uosuyor est]
ueBox uyor ouRsey Ore y| sayjany euuezng' uepieg plevoy UpHS peL| sauseny eusBng vo'ssojabuy sol] s1Z0rbe uosuyor est]
ueGoy uyor OURIEW SIBW Jajjenyy suuezns| uapleg pleuoy PUBS ON UPYUS Pet s3ueanD aueBng| Yo'ssojafuy sol] Lizotre uosuyor esyy|
ueBox uyor oURIeW S18) Jajjanwy auuezng ueped preuoy puBTaMmg O15; UPS PEL) Jauesny aueing vo 'ssajabuy sot] -tzoLpe uesuyor #5]7
ueGoy uyo| OQUBIEYWY D2eyy| Ja}fany suuezns uaepled pleuoy pUB!IEMg oN3) UPS Pat deusanp suebng, vo'ssejbuy soy] Ltzolee uesuyor ey]!
ueBoy uyor| OURIEW EW dayjany auuezns| uapieg pleuoy PUEIjaMS 9}:3 UPD pal ssuaend ouabn3 Vo ‘'ssajsBuy sol] tizoLpe uosuyor es]:
ueBoy uyor| QUBIEW SJe/N) Jaqjenw esuuezng| uepieg preuoy upai pag aeuasny euebng vo‘ssasbuy soi] FLZ0Lee uosuyor esyy
uBBox wor; oueseW qe 19,80 euuezns| vapled preuoyy up pa. saueend eue6ny Vo 'ssajabuysol] LIzoLpe uosuyor est]
ueBoy uyor OUELEW QUE 2ayfany euuezns| uapieg preuoy UpYD pa Jausenp euebng VO 's sajsbuy sor]  LtzoLpe uesuyor es[]
ueBor uyor, OUEJEW DIEWN da]]anw auuezng} uapieg pjeuoy: PUBIIOMG 93 UW pes dausenp euebng vo‘ssajeBuy soy} LizoLpe uosuyor es]
ueBoy uyor ouBsey Dey! Ja}|anw auuezng} uapeg preuoy: pugyeng ou3 UMD Psy Jausang sueing vo 's sajBuy soi} LizoLpe uosuyor e5y7

 

 

 

 
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ueBoy uyor, OURIEY SIEW]| Jaen euUeZns uepieg preuoy: pUr}EMS 2p, Upyg pos Jaugeny auabng| VO'NsajeBuy 607] zLzoLee. VO'N selpBuy S07 - yueoBA!
ueBoH uyor OUR OLR 43yanW auuezng| uapieg preuoy: PUELIMS 93 UPEND po. Jauaany aueing VO 'NseaBuy so] zizoLre VO 'N Sa|ebuy S07 - UeIEA!
ueBoy uyor CURIE, 912) 4p }{any auuezns| wapied pyeuoy! pueliems 9173 UPUD pa! 49uganD euaBng Wo'Nsejebuy sol} Zz1ZzOLPe VO 'N sajeBuy soy -queseA|
ueboH uyor OURJeW! ey) sajjenyy auuezns| wepieg pyeuoy| puRlIaAs oy! UPS pat Jauaany suing VO'NSojabuyso7} zLzoLre VO 'N seeGuy so’y -yUe9eA|
ueBoy uyor| ouRIRYy 21eW) Jalen euuezng] uepieg peLoy, pugljamg op3' UPS pas daussny aueing VO'Nsajebuy seq} ZLZOLee YO 'N selebuy sot -jUecR;,
ueGoH uyor ouRay ory) Jalen auuezng} vapieg peuoy| pUBIIEMS 519) UpYyS par Jauaeny sueBng VO'Nsajahuy soi} zizolre VO 'N sajaBuy 60°} - UBIBA|
ueBoH uyor CURIE Ney) Jarlenw euuezns| vapueg psucY| pUB}aAS O13 UpuD pe] saueand eusing VO'NsaeBuy sol} zizoLbe VO 'N sejaBuy S07 - ueoEA|
ueBoy uyor ouesey) 12yy za}|anw auuezns} vapieg plevoy| puEaMg OUR UPYUD pat 2euaand suabng Vo'NSalaBuy so7|  zzoLbe VO ‘N SejaBuy so7] - quzo8a|
ueBoy uyor URE 218; Jaflany euuezng} uapseq preuoy| PUEHEMS ONS UpytS Pel Jausend euadng Vo'nsajebuy sol] zizoLpe VO 'N sejafuy S07] - yueae,|
ueGoy uyor OUBeA Oey Jajjony euuezns| vapsed preuoy| PUBIIOMS ON UpyUD peL Jauaany eusiny Vo'NsaaGuy sol] zizoLpe V2 ‘N SajeBuy so7 - jueoeA|
ueBoy uyor OUBIEW Mey Jojanyy auuezns vapieg pleucy| PUBIIOMS 93 UP pa. sausend eusbny vo'ssajabuy sor] Lizolpe uosuyor es1]]
ueBoy tyr] ougteW O1ey J9]}9nW ouueZnS wepuRg pisuoYy, puByeMs 9u3 UPD pez souseny eusing VO's sojaBuy sol] tizoLye uosuyor est]
eBoy uyor ougnYy SLEyy 4a]]aNW euuezns| Uepigg pleuoy puBHOMS OU] UPD pat deuseny suebny| wo ‘'ssejabuy soy} LLZOLbe uosuyor es]
ueBoy uyor OUReW 28 Jayjanyw auueznsg| uspieg pleuoy PUBIIOMS IN upg paz Jaueeny eueing VO 'Nsessuy sol] zizoLbe WO 'N sejaBuy S07 - 1Ue9RA,
ueBoy uyor UREN Qe Jejjenyy suuezng| uapieg plevoy, pUBTEMS OPS UpBUd pat Jauseny eveing Vo‘NseeBiyso7| zLzoLPe VO 'N SejaBuy so’) - jua2BA|
ueBoy uyor OUBIEW! 8 Jayjanyw suuezng uspieq pleuoy puereMs oy ups pa. Jauaend aueBny vo'Nsosbuy sol} ZzLzoLbe V9 'N SasBuy S07} - JURDeA
ueBoy uyor OURIEW IEW) 4ayjenyy suuezns| uapeg peuod pUe EMS SNS CUD pa! setteend euebng VO'NSalsBuy sol} zizoLre VO 'N Se1aBuy S07 - EBA!
ueBoy uyor UREA! O18 Jajjanyy euueZzng| uapieg peuoY pueI[aMS 93 UPD pal, sauaeny suaBng VO'NsejeBuy sol] ZzEzoLPe VO 'N sajabuy 607 -jueoEA|
eGo uyor OUeTEy Oey dojanyy suuezns| uapieg pleuoY, puBlIams Oy UPD pes, deueeny euveing vo 'ssejsbuyso7] LizoLre uosuyor 8577]
uedory uyor] OURIEW ey Joyany suvezng| uapieg pjeucy pusliaMms 9149) UpuS pel dousenty eueing Vo'Nssabuy so] ZEZOLPe WO 'N sajaBuy 607 - jueaB,
ueBoy yor] OUBIe,L Dey) Jajeny auuezns} uapieg pjeuoy. ong UpUO pat, saueand eusing VoO'NsojaBuyso7] zizoLpe VO 'N sajaBuy 507] -jueoeA|
ueBoy uyor] ouRLey O18 da]}anw auvezns| uepieg pyeuoy PUETIaMS OL UpUS pat Jauseny aueing YON sejeBuy soy) ZLzoLre YO 'N sojabtny so7] -juese,|
ueBoy uyor ouRley ey Jajjany auuezns| uepled preuoy; puR}aMS Na UP pal Jeuaand eueing VO'Nsaebuy soi zizorpe VO 'N sajauy so7-uedeA|
ueSox uyor| oumey ay Jajjeny auuezng vepleg preuoy! pUBIIEMS ONS, UpyS pay | Jausend euebng Vo'NsaeSuy sol} zrzotre WO 'N sajeBuy so - ueseA|
ueBop yor! OUBIEYy SUEW| dayany auuezng uepieg pjevoy, PUBIIOAS ON) UP Pad deueany suebny| vo'Nsas6uy sa7f ztzoLEe VO 'N sofebuy so] ~ quesBA|
ueGoy uuosy CURIE Qe Jaen ouUEZNS uspleg prsu0y| pUeLaMS Ba UPD pat saueeny euebng Vo ‘NsaeBuy sol] zizolpe VO 'N sajeSuy so’ - yuea8A|
ueBoH tyr] OUReYy QB, Ja}eny euuezng| vapieq preuoy| pueliaMg oN3 UPD pat Jeuaeny eueén3 VO'Nseljabuy sol} zizoLbe VO 'N sejabuy $07 - juWeseA|
eBoy uyor] OUBIEW DEW Jaqany ewezng| UBplEg PjeUoY pUET EMS oN UHPID pay Jauseny auebny yo'NsejsBuy soy] ZLZoLPe ¥O'N sajebuy so’ -jUese A,
ueBoy uyor ou Dey 49//an] suLEZNs| uaple preuoy, puUEIaMS O29 UpytD pal JeugenD sueing VO'NsajaBuy S07} ZLzOLbe VO 'N sajeBuy S07 - wueseA|
ueGoy uuor ouRIeW O12) Ja}jeny] auuezns} uapleg pleuoy, PUBTIaMG O13 upuig pa.| sauaend eueing VvO'N s9ja8uy soy] ZL ZOLbe VO 'N sajeBuy S07] - jUeDBA
ueBop wor ouReW O1B/y Ja|janyy suuezns| uepieg peuoy pueljams a3 UU pal Jeugeny eueing vo'Nsajabuy sol] zizoLre V9 'N SejeBuy 807 -juEIeA
ueboy uuopy OURIEW Ney Jaren avuezns| uapieg pjeuoy pUEHaMS O15 UPYD Pat Jauaeny eueing VWoO'NsajaBuy so] zLzoLpe VO 'N Se|aBuy S07 - jUzI2A,
ueBoy uyor| OURIEYW O1eH| Jaljeny euuezns uapieg preuoy puelIaMs SNS; UYU pay. Jauaeny eusing vo'NsaeSuy sol] ZLZOLre YO 'N Sajabuy so] - UBIeA|
usBo} uyor| OURIeW Oey Jaan auuezng Wapleg preuoy: pUBIems 915 up par! Jaugeny eueing Vo'Nsaebuy sol} zizoLre VO 'N se]9Guy S07 -yUBIe,,
ueBoy uyor} oureyy EW) Ja}any auuezng uepieg preuoy puBIIeMS INS UID pas Jaueany suebn3| Vo'Nsssbuy so7} ZizoLee WO 'N sajaBuy so7] ~yueoBA|
uedopy uyor oueey IEW Jayany ouuezng| uepieg plevoy pugl|amMg dy} UPS pet| deueenty euebng| VO'NselsBuyso7] ZLzOLee VO 'N sofabuy soy - yueae,
ueBioy uyor| OUBLE; O18/) Ja}fanyy euuezng| uspigg piBuoy, PUE]|OMS O34 upg pal JeuaeND eussng VO'N salabuy sot] ZLZ0Lbe VD 'N sajeBuy 807] - yueoB,
ueBoH uuory ougreyy Oey Jaylany euuezng} uapreg pleuoy pugyiems oval UpYt Pal JeugenD eueing Vo'Nsajabuy sol] ZizoLpe WO'N sojaBuy S07 - yuBOeA

 

 

 

 

 

 

 
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webou won SUBIEW SEW, Jo) enW suueZns Wepieg pieuoy PUETIAMS O13 UpHD pat Jauaand euaing vo'Nsalabuy soit zizotpe VO ‘N SajeBuy 07 -qUe2BA|
ueboH wuon OUBIEW eW danenw auuezns: Vepie pleuoy puB{aMS BU) UPIND Pat Jauaeny aueing YO'NSalebuyso7] ZzEZOLbe V¥O'N saleBuy so7]-yueoeA|
ueBor uyor OuBIEW O28 Jalenw euuezns uepieg pleuoy puelemg 913] UpUS pat Jeuaend sueina| VO'NseleBuy 507] zizoLbe VO 'N salaBuy soy -juEoeA
ueBoy uyor OURIEW QB) Jaan suueZnS Uapieg pjeuoy puRT}EmMS O23 UpLD pa! zeuaeny oueiny, wo 'ssajeBuy sol} LizOLee wosuyor Bs}
webou wor QUBIEN EW Jeuany euuezns uepieq pleuoy pupilams oN UpHD pab sausenD euebny vo ‘s sejauy so7|  Lizolpe uosuyor Bs]
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Exhibit 19

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 Page 84 of 99 Page ID #:287

From: Egan, Stephen [TTTUS]

Sent: Wednesday, March 11, 2015 4:47 PM

To: DAVIE, WILLIAM [TTTUS]; Washington,Wilbur [TTTUS}; Jaisinghani, Manisha [COBIUS];
Damavandi, Bita [TTTUS]

Subject: West Region Speaker Database

Attachments: West Region Speaker Database 2015.xIsx

Importance: High

Guys,

Can you kick this back to me with updates for the following:

Khemichian
Ruane
Saab

Mena
Sundaram
Tong
Hawkins

| greatly appreciate your help. Let me know if you have any questions.

Best,
Steve

 

 

Southwest District,
fam reaching out to you as individual speaker owners. If you currently do not call on a speaker, there is no action
needed on your part at this time.

We are looking to “up our game” in terms of Olysio speaker selection and utilization across the West Region. As this
market continues to evolve, so do the opinions of some key thought leaders. To that end, we are putting together a
database (attached above) in which we will keep a current list of who our speakers are, what their travel
preferences/limitations are and lastly, we will score their advocacy.

This document will go onto a Share Point site in which all reps in the Region can access and utilize as a tool when
considering which speaker to select for their territory.

*My ask of you is to fill in the sections in green on the spreadsheet and return to me at your earliest convenience. This
exercise will take you no more than five minutes.*

Here are two things to consider:
1. Section T—KOL: Please provide an accurate representation of your speaker's reach.
e National KOL — Do providers on both coasts know this speaker?
* Regional KOL— Do providers outside of their city/state know and recognize them as a person of
influence?

 
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¢ Local KOL: This will be the designation for all speakers that don’t fall under National or Regional.
e Inshort, every provider on this list is a KOL, it is up to us to provide the level of reach.

2. Section U — Advocacy Score: Please provide an accurate representation of your speaker in light of programs and
or conversations that have occurred post SIM/SOF approval.
e There are Four options: Positive, Neutral, Debating and TBD (Reserved for New Speakers).
e Please call me directly at (847) 815-0213 if you need further clarification as to who fits where in terms of
advocacy.

| thank you all in advance for your input and insights. You will hear more about this project in weeks to come.

Best,
Steve

Steve Egan

Senior Sales Specialist

Janssen Specialty - Hepatitis/Immunology
Infectious Diseases

Phone: 847-815-0213
segani @its.jnj.com

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janssen J aan

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Exhibit 20

 
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Exhibit 21

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 Page 90 0f 99 Page ID #:293

 

From: Wojecki, David [TTTUS]

Sent: Thursday, December 18, 2014 5:39 AM

To: Williams, Alan [COBIUS]

Ce: Egan, Stephen [TTTUS]; Damavandi, Bita [TITUS]; Wolfe, Lynn [TTTUS]; Issa, Mohamed
[TTTUS]

Subject: Re: HCV Speaker Program - Saab

Alan,

Thanks for sharing this important feedback with everyone. We don't have him scheduled.

To your point right now is a time to check in with our speakers to evaluate where they're at and are will support when
asked how they'll use OLYSIO.

Dave

Sent from my iPad

On Dec 17, 2014, at 10:46 PM, Williams, Alan [COBIUS] <AWilli14@its.ini.com> wrote:

All:

Have any of you had any recent OLYSIO™ programs with Dr. Sammy Saab out of LA? If so, what was your
experience? | was disappointed to hear from Kara Ginney that he did not present a very favorable
picture of OLYSIO™ + sofosbuvir at her talk in Modesto last night; in fact, he very plainly stated that
Harvoni was his go-to drug, he downplayed several potential patient types in which OLYSIO™ +
sofosbuvir might be appropriate, and in general did not seem very positive on the regimen. I’d caution
any of your team to consider a different speaker for any upcoming programs.

This was especially disappointing for me given that he had done an excellent job earlier in the year of
presenting OLYSIO™ triple therapy in Seattle.

Thoughts?
Alan

W. Alan Williams

District Manager, Pacific Northwest
Janssen Specialty, Hepatitis/Immunology
Janssen Therapeutics, Inc.

Cell: (267) 521-2526

Janssen Pharmaceutical Companies of Johnson & Johnson

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arrange for proper delivery, and then please delete the message from your inbox. Thank you.

 
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Exhibit 22

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 Page 92 0f 99 Page ID #:295

Beverly Hills POA

90 Day Action Plan
2rd QTR 2007

QTR GOALS:

 

 

 

 

Q Exceed market share change goals (2005 vs. 2006):
o ACIPHEX 1.0
o LEVAQUIN tabs 1.5
o LEVAQUIN 750 (to include LEVAPAK) 1.0
o LEVAQUIN NONRETAIL 1.0
o LEVAQUIN NONRETAIL 750m 1.0
o LEVAQUIN IN UROLOGY 1.2%

 

STRENGTHS (PRIORITIZED):

Strong Q1 results with increasing momentum.

Constant Communication with POD partners.

Good working relationship with Hospital rep to fill in gaps and missed opportunities in previous years.
Strong Relationships with Top 20 Doctors.

Strong Relationships with influential pharmacists.

Levaquin Sample Assistance program with Urologist.

Support of LevaPak with certain Doctors.

LEVAQUIN is the preferred quinolone on all hospital formularies.

LEVAQUIN 750mg. Recently added to Cedars formulary.

Level 1 recommendation of Levaquin for CAP from IDSA/ATS guidelines.

Great Strep Pneumo susceptibility supported by TRUST 10.

Strong formulary coverage for Levaquin including Blue Cross and Medi-cal.

Aciphex coverage on most Medi Part D plans for a low co-pay.

Aciphex preferred on Blue Shield, Pacfic Care, UHC, Health Net, and Motion Picture.
Wealth of scientific resources for both products.

Removal of COX2s from the market, empowering physicians to comfortably prescribe Ultram ER.
Easy QD dosing regimen for Ultram ER for chronic pain patients.

200mg samples now available.

Nonscheduled status of Ultram ER, Senate Bill 151.

Dr. Metzger added to UER Speakers Bureau.

Funds to support upcoming Speaker Programs.

WEAKNESSES (PRIORITIZED):

Aciphex not on hospital formulary.

1 rep (vs. 2 in 2006) calling on Gastros and positioning Aciphex in first call position.
Aciphex needs Prior Auth on Blue Cross, our #1 plan.

Growing resistance of Levaquin to gram negative pathogens.

Financial incentives for using Generics.

Levaquin being switched to generic Cipro at pharmacy level without Dr. approval.
Large offices with Cash patients (studio industry) receive Cipro due to generic pricing.
Lack of adequate coverage due to loss of M4 rep.

Ultram ER not being given to the right patient at the right dose; results in loss of refill.
Ultram ER Early View not sufficient for viewing all prescriptions for all Dr.’s.
Beverly Hills pharmacies don’t report prescriptions.

Budgetary constraints!!!

Loss of Prescriber View in old format due to Dashboards.

 
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OPPORTUNITIES (PRIORITIZED):

Medicare Part D and AARP opportunity to gain back Aciphex Market Share.

Aciphex $30 coupon, 7 day free Trial Voucher, and e-voucher.

Low Aciphex share with the top GI Docs.

LevaPak only being utilized by certain physicians gives lots of opportunities for growth.

Levaquin preferred on Blue Cross.

TRUST 10 proving Levaquin sustained susceptibilities.

Levaquin continues to be on med-ical unrestricted and has excellent coverage on most managed care
plans.

Studies showing safety concerns with Cox 2, empowering physicians to comfortably prescribe Ultram ER.
MI-M3 detailing Ultram ER in second position.

Use of Susan Baker and Dr. Metzer in territory to highlight Ultram ER.

Pat’s budget for speaker programs for Levaquin and Aciphex.

Leverage relationships with top Dr.’s to get more face time at dinner vs. office lunches.

Pharmacy lunch and dinner program.

Key Account Specialist may provide Tea more time to focus on Gastros.

THREATS (PRIORITIZED):

Prevacid preferred on Cedars Hospital formulary.

Protonix preferred on more managed care plans.

PPI Competitors aggressively selling against ACIPHEX due to formulary coverage.
Ultracet/ultram generic and efficacious.

Launch of Lyrica, a new chronic pain competitor.

Avelox aggressively selling against LevaPak.

Avelox aggressively targeting hospitals for Intra Abdominal Infection at a low cost.
Levaquin being switched to Cipro at Pharmacy.

Studies supporting Avelox as first line for CAP based on IDSA/ATS guidelines.
Medi-care Part D strongly pushes for generic and needs Prior Auth. for branded.
Cedars Sinai IPA incentives to prescribe generics.

Thought Leader strong advocate to prescribe H2 blockers instead of PPI’s.

Critical Issues /Objectives (S.M.A.R.T.)

Lessons Learned from Semester 1:
o Short frequent POD meetings to analyze and brainstorm ideas, blitzes, and ROI’s to maximize
results.
o Call frequency on Top Dr.s . is our most important predictor of Market Share.
o Product Blitz’s done consistently to target No-see’s, large offices, and pharmacy’s.
o Sharing of Uer Dr’s to increase weakly prescriptions.
Partner with Hospital Rep (Sheila) for dual messages vs. Avelox/Cipro on key Dr.’s.
AcipHex: LMS close on every call (increase in UHC/Pacific Care lives).
AcipHex: obtain lost medi-cal business with AARP coverage and low co-pays.
Continue to establish great relationships with pharmacists and OWN our top pharmacy’s.
Utilize Aciphex stamps for additional business.
Leverage relationships with office staff to pinpoint specific action in our Total Office Calls.

 
ACTION PLAN

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Critical Issues Action Required Owner Date: Status
(What)- S.M.A.R.T. (How) (Who) | (by When) | (Completed?)
Q Pinpoint UER prescribers and close for | Jennifer December 07 | Ongoing
Growth Ultram ER more patient types to increase Rx’s. MIi-M3
QO Painting patient picture and close for
200mg.
Q Gain 1 new UER advocate.
Dr. Metzger dinner program to gain new August
Ultram ER business. M1-M3
Aciphex M1-M3 On going ©
Q Dinner w/ Dr. Reznik to increase ,
Aciphex and UER.
Q Weakly ice cream blitz w/ Strom. Summer Yes
Q Cedars Jamba Juice Daze.
Q Weakly product Blitz through BH.
Q GERD prob chart.
Levaquin Q Dinner with Dr. Horowitz try again to M1-M3 Summer
get Levaquin for Reality shows vs.
Cipro
OQ Bi-monthly breakfast w/ Sugerman
Q Cedars Jamba Juice Daze with URO
Q Tower URO Dinner program
. Q Pizza Blitz’s to increase knowledge of | MI-M4 April/May Ongoing
Pharmacies Managed care coverage. 2007
Q Pharmacy dinner program w/ Pat’s
. budget.
Aciphex ° Ongoing Ongoing
: Q Make sure pharmacies are stocking
Levaquin Ultram ER and see value and difference
Ultram ER vs. Tramadol Ongoing Ongoing
Q Make sure pharmacists are on board Ongoing Ongoing
with Ultram ER Savings Cards
Hollywood Hospital Q Get Levapak/ IV 750 stocked Jennifer and | Ongoing Declined
Paul
General Strategies to Q Bi-weekly POD meeting with an MIi-M3 Ongoing

increase business with all 3
products with Dr.’s and
Pharmacy’s.

agenda to focus on each managed care
plan. Generate a specific list of targets
and execute for 2 weeks. Include Dr.’s,
staff, and pharmacy’s.

Q Execute with product blitz, jamba, and
ice cream socials.

 

 

 

 

 

 

 
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Exhibit 23

 
Case 2:16-cv-06997-RGK-RAO Document 1-2 Filed 09/16/16 “Page 96 0f 99 Page ID #:299

 

Alan Kyle

From: Damavandi, Tea JAN]

Sent: Thursday, October 13, 2005 4:16 AM
To: Escobedo, Javier JAN]

Ce: Damavandi, Bita JAN]

Subject: inservice info

Aggregate numbers in Cedars Territory (May 19th start date)
Number of lunch inservices: 54
Number of dinner inservices: 15

Nunber of pharmacy programs: 1
Number of Aciphex speaker programs: 2 :Dr Gu and Russell Yang

Number of Levaquin programs: 2 : Dr Nasseri
Number of blitzes all physicians: Augmentin blitz, Levapak Take five; Amazing Aciphex blitz, the force is w/ Aciphex

minis, and Levaquin preferred urology blitz.
Journal clubs: Laryngology and dysphasia meetingsX2

This large number of inservices was provided in collaboration w/ other JNJ enterprise representatives, thereby maximizing
the budget for each targetted physician. In addition, each targeted physician was strategically followed in order to move

the customer furhter on the buying cycle.

Total suggested ranking=6

 
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Exhibit 24

 
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Case 2:16-cv-06997-RGK-RAO

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Kyoungha Shin ;
Sunghyun Kini ;
Janice Wee +‘

Joseph Jung ;

 

 
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Exhibit 25

 
